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                                                 STATE OF NEW YORK
                                           OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                                            BARBARA D. UNDERWOOD
ATTORNEY GENERAL                                                                                               S OLICITOR GENERAL
                                                                                                         DIVISION OF APPEALS & O PINIONS


                                                                       May 5, 2023

       Catherine O’Hagan Wolfe
       Clerk of Court
       U.S. Court of Appeals for
       the Second Circuit
       40 Foley Square
       New York, NY 10007

                         Re:      Spencer v. Nigrelli, No. 22-3237

       Dear Ms. Wolfe:

             I represent defendant-appellant Steven Nigrelli in the above-captioned
       appeal. In accordance with Federal Rule of Appellate Procedure 28(j), I write
       to advise the Court of the recently enacted amendment to the Concealed Carry
       Improvement Act’s place-of-worship provision, which took effect on May 3,
       2023. Ch. 55, pt. F, § 4, 2023 N.Y. Laws (2023) (attached as Ex. A). The
       amendment moots plaintiffs’ action challenging the place-of-worship provision.

              Under Penal Law § 265.01-e(2)(c) as now amended, “persons responsible
       for security” may carry firearms at places of worship, even if they do not satisfy
       the statutory exemptions enumerated in § 265.01-e(3). Id., pt. F, § 1. This
       language is materially indistinguishable from the terms of the stay that has
       been in effect pending the outcome of this appeal. (See J.A. 284.)

              Plaintiffs alleged that the place-of-worship provision injured them by
       prohibiting Michael Spencer and his congregants from “exercising their
       religious conviction to carry firearms into the church to protect themselves and
       other congregants” (J.A. 61), interfered with church autonomy (J.A. 64), and
       prevented Spencer and law-abiding congregants from carrying firearms into
       church for self-defense. (J.A. 65). Under the amended statute, however,

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Spencer—who, as pastor, decides what personal items are permissible on
church premises—can carry firearms “to protect the Church and its
worshippers in case of violent confrontation” (J.A. 56), as can anyone Spencer
determines is responsible for church security.

       Thus, plaintiffs’ action challenging the place-of-worship provision is now
moot. See N.Y. State Rifle & Pistol Ass’n v. City of New York, 140 S. Ct. 1525,
1526 (2020). Plaintiffs’ assertion (Br. for Appellee at 38 n.3) that the
amendment “does not eliminate the religious discrimination” is irrelevant
because the amendment cures the only injury plaintiffs allege. Nor does
plaintiffs’ request for nominal damages cure mootness, as the Eleventh
Amendment bars claims for money damages against state officials in their
official capacities. See, e.g., National Rifle Ass’n of Am. v. Hochul, No. 21-3187,
2021 WL 5313713, at *2 (2d Cir. 2021) (summary order); Simmons v. Conger,
86 F.3d 1080, 1086 (11th Cir. 1996).

                                            Respectfully,

                                            /s/ Jonathan D. Hitsous

                                            Jonathan D. Hitsous
                                            Assistant Solicitor General
                                            (518) 776-2044

cc: Counsel of record (by ECF)




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               Exhibit A
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                      STATE OF NEW YORK
________________________________________________________________________

     S. 4005--C                                               A. 3005--C

                      SENATE - ASSEMBLY
                              February 1, 2023
                                 ___________

IN  SENATE -- A BUDGET BILL, submitted by the Governor pursuant to arti-
  cle seven of the Constitution -- read twice and ordered printed, and
  when printed to be committed to the Committee on Finance -- committee
  discharged, bill amended, ordered reprinted as amended and recommitted
  to said committee -- committee discharged, bill amended, ordered
  reprinted as amended and recommitted to said committee -- committee
  discharged, bill amended, ordered reprinted as amended and recommitted
  to said committee

IN ASSEMBLY -- A BUDGET BILL, submitted by the Governor pursuant to
  article seven of the Constitution -- read once and referred to the
  Committee on Ways and Means -- committee discharged, bill amended,
  ordered reprinted as amended and recommitted to said committee --
  again reported from said committee with amendments, ordered reprinted
  as amended and recommitted to said committee -- again reported from
  said committee with amendments, ordered reprinted as amended and
  recommitted to said committee

AN ACT to amend chapter 887 of the laws of 1983, amending the correction
  law relating to the psychological testing of candidates, in relation
  to the effectiveness thereof; to amend chapter 428 of the laws of
  1999, amending the executive law and the criminal procedure law relat-
  ing to expanding the geographic area of employment of certain police
  officers, in relation to extending the expiration of such chapter; to
  amend chapter 886 of the laws of 1972, amending the correction law and
  the penal law relating to prisoner furloughs in certain cases and the
  crime of absconding therefrom, in relation to the effectiveness there-
  of; to amend chapter 261 of the laws of 1987, amending chapters 50, 53
  and 54 of the laws of 1987, the correction law, the penal law and
  other chapters and laws relating to correctional facilities, in
  relation to the effectiveness thereof; to amend chapter 55 of the laws
  of 1992, amending the tax law and other laws relating to taxes,
  surcharges, fees and funding, in relation to extending the expiration
  of certain provisions of such chapter; to amend chapter 339 of the
  laws of 1972, amending the correction law and the penal law relating
  to inmate work release, furlough and leave, in relation to the effec-
  tiveness thereof; to amend chapter 60 of the laws of 1994 relating to
  certain provisions which impact upon expenditure of certain appropri-

 EXPLANATION--Matter in italics (underscored) is new; matter in brackets
                      [ ] is old law to be omitted.
                                                           LBD12570-05-3
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 ations made by chapter 50 of the laws of 1994 enacting the state oper-
 ations budget, in relation to the effectiveness thereof; to amend
 chapter 907 of the laws of 1984, amending the correction law, the New
 York city criminal court act and the executive law relating to prison
 and jail housing and alternatives to detention and incarceration
 programs,   in   relation to extending the expiration of certain
 provisions of such chapter; to amend chapter 166 of the laws of 1991,
 amending the tax law and other laws relating to taxes, in relation to
 extending the expiration of certain provisions of such chapter; to
 amend the vehicle and traffic law, in relation to extending the expi-
 ration of the mandatory surcharge and victim assistance fee; to amend
 chapter 713 of the laws of 1988, amending the vehicle and traffic law
 relating to the ignition interlock device program, in relation to
 extending the expiration thereof; to amend chapter 435 of the laws of
 1997, amending the military law and other laws relating to various
 provisions, in relation to extending the expiration date of the merit
 provisions of the correction law and the penal law of such chapter; to
 amend part D of chapter 412 of the laws of 1999, amending the civil
 practice law and rules and the court of claims act relating to prison-
 er litigation reform, in relation to extending the expiration of the
 inmate filing fee provisions of the civil practice law and rules and
 general filing fee provision and inmate property claims exhaustion
 requirement of the court of claims act of such chapter; to amend the
 family protection and domestic violence intervention act of 1994, in
 relation to extending the expiration of certain provisions of the
 criminal procedure law requiring the arrest of certain persons engaged
 in family violence; to amend chapter 505 of the laws of 1985, amending
 the criminal procedure law relating to the use of closed-circuit tele-
 vision and other protective measures for certain child witnesses, in
 relation to extending the expiration of the provisions thereof; to
 amend the sentencing reform act of 1995, in relation to extending the
 expiration of certain provisions of such chapter; to amend chapter 689
 of the laws of 1993 amending the criminal procedure law relating to
 electronic court appearance in certain counties, in relation to
 extending the expiration thereof; to amend chapter 688 of the laws of
 2003, amending the executive law relating to enacting the interstate
 compact for adult offender supervision, in relation to the effective-
 ness thereof; to amend part H of chapter 56 of the laws of 2009,
 amending the correction law relating to limiting the closing of
 certain correctional facilities, providing for the custody by the
 department of correctional services of inmates serving definite
 sentences, providing for custody of federal prisoners and requiring
 the closing of certain correctional facilities, in relation to the
 effectiveness of such chapter; to amend part C of chapter 152 of the
 laws of 2001 amending the military law relating to military funds of
 the organized militia, in relation to the effectiveness thereof; to
 amend chapter 554 of the laws of 1986, amending the correction law and
 the penal law relating to providing for community treatment facilities
 and establishing the crime of absconding from the community treatment
 facility, in relation to the effectiveness thereof; and to amend part
 F of chapter 55 of the laws of 2018, amending the criminal procedure
 law relating to the pre-criminal proceeding settlements in the City of
 New York, in relation to the effectiveness thereof (Part A); inten-
 tionally omitted (Part B); intentionally omitted (Part C); inten-
 tionally omitted (Part D); intentionally omitted (Part E); to amend
 the penal law, in relation to certain crimes relating to the
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 possession and storage of a firearm (Part F); to amend the state
 finance law and the executive law, in relation to establishing a
 hazard mitigation revolving loan fund (Part G); to amend the volunteer
 firefighters' benefit law and the general municipal law, in relation
 to permitting the paying of a training stipend to volunteer firefight-
 ers (Part H); intentionally omitted (Part I); to amend the military
 law, in relation to the expansion of eligibility for World Trade
 Center death and disability benefits for members of New York's organ-
 ized militia (Part J); intentionally omitted (Part K); intentionally
 omitted (Part L); intentionally omitted (Part M); intentionally omit-
 ted (Part N); to amend chapter 396 of the laws of 2010 amending the
 alcoholic beverage control law relating to liquidator's permits and
 temporary retail permits, in relation to the effectiveness thereof
 (Part O); intentionally omitted (Part P); to amend chapter 303 of the
 laws of 1988, relating to the extension of the state commission on the
 restoration of the capitol, in relation to extending such provisions
 for an additional five years (Part Q); to amend the state finance law,
 in relation to methods of procurement; and to repeal           certain
 provisions of such law relating thereto (Part R); to amend the civil
 service law, in relation to competitive workforce expansion and
 retention (Part S); to amend the civil service law, in relation to
 employment of certain persons with disabilities (Part T); inten-
 tionally omitted (Part U); to amend part HH of chapter 56 of the laws
 of 2022 amending the retirement and social security law relating to
 waiving approval and income limitations on retirees employed in school
 districts and board of cooperative educational services, in relation
 to the effectiveness thereof (Part V); to amend the retirement and
 social security law, in relation to allowing participating employers
 of the New York state and local retirement system to withdraw from the
 contribution stabilization program (Part W); intentionally omitted
 (Part X); to amend the general municipal law, in relation to moving
 the special accidental death benefit appropriation from the department
 of audit and control to the general fund's miscellaneous all state
 department and agencies (Part Y); to amend the executive law, in
 relation to the first class of the commission on ethics and lobbying
 in government (Part Z); to amend the tax law and part C of chapter 2
 of the laws of 2005 amending the tax law relating to exemptions from
 sales and use taxes, in relation to extending certain provisions ther-
 eof; to amend the general city law and the administrative code of the
 city of New York, in relation to extending certain provisions relating
 to specially eligible premises and special rebates;     to amend the
 administrative code of the city of New York, in relation to extending
 certain provisions relating to exemptions and deductions from base
 rent; to amend the real property tax law, in relation to extending
 certain provisions relating to eligibility periods and requirements;
 to amend the real property tax law, in relation to extending certain
 provisions relating to eligibility periods and requirements, benefit
 periods and applications for abatements; and to amend the administra-
 tive code of the city of New York, in relation to extending certain
 provisions relating to a special reduction in determining the taxable
 base rent (Part AA); to repeal subdivision 12 of section 239-bb of the
 general municipal law relating to county-wide shared services panels
 (Part BB); intentionally omitted (Part CC); to amend chapter 141 of
 the laws of 1994, amending the legislative law and the state finance
 law relating to the operation and administration of the legislature,
 in relation to extending such provisions (Part DD); to amend the
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      civil service law, in relation to waiving state civil service examina-
      tion fees between July 1, 2023 and December 31, 2025; and providing
      for the repeal of such provisions upon the expiration thereof (Part
      EE); to amend the general municipal law, in relation to providing
      Suffolk county certain fees for the services of the Suffolk county
      traffic and parking violations agency (Part FF); to amend the retire-
      ment and social security law, in relation to providing certain death
      benefits   to   correction   officers, correction officer-sergeants,
      correction officer-captains, assistant wardens, associate wardens or
      wardens employed by Westchester county (Part GG); to amend the retire-
      ment and social security law, in relation to authorizing police/fire
      members of the New York city fire department pension fund to obtain
      credit for service as an EMT member (Part HH); to amend the retirement
      and social security law, in relation to providing certain death bene-
      fits to county fire marshals, supervising fire marshals,          fire
      marshals, assistant fire marshals, assistant chief fire marshals,
      chief fire marshals and division supervising fire marshals employed by
      Nassau county (Part II); to amend the retirement and social security
      law, in relation to allowing certain members of the New York city
      police pension fund to borrow from contributions (Part JJ); to amend
      the retirement and social security law, in relation to the retirement
      of deputy sheriffs-civil in the county of Monroe (Part KK); to amend
      the retirement and social security law, in relation to certain medical
      presumptions applicable to members of the New York state and local
      employees' retirement system (Part LL); to amend the state finance
      law, in relation to the transfer and disposal of certain personal
      property of the state (Part MM); to amend the executive law, in
      relation to reports by the director of the office of counterterrorism
      (Part NN); and to amend the not-for-profit corporation law, the execu-
      tive law, and the education law, in relation to the discovery and
      disposition of human remains and funerary objects (Part OO)

       The People of the State of New York, represented in Senate and Assem-
     bly, do enact as follows:

 1     Section 1. This act enacts into law major components of legislation
 2   necessary to implement the state public protection and general govern-
 3   ment budget for the 2023-2024 state fiscal year. Each component is whol-
 4   ly contained within a Part identified as Parts A through OO. The effec-
 5   tive date for each particular provision contained within such Part is
 6   set forth in the last section of such Part. Any provision in any section
 7   contained within a Part, including the effective date of the Part, which
 8   makes a reference to a section "of this act", when used in connection
 9   with that particular component, shall be deemed to mean and refer to the
10   corresponding section of the Part in which it is found. Section three of
11   this act sets forth the general effective date of this act.

12                                     PART A

13     Section 1. Section 2 of chapter 887 of the laws of 1983, amending the
14   correction law relating to the psychological testing of candidates, as
15   amended by section 1 of part A of chapter 55 of the laws of 2021, is
16   amended to read as follows:
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 1     § 2. This act shall take effect on the one hundred eightieth day after
 2   it shall have become a law and shall remain in effect until September 1,
 3   [2023] 2025.
 4     § 2. Section 3 of chapter 428 of the laws of 1999, amending the execu-
 5   tive law and the criminal procedure law relating to expanding the
 6   geographic area of employment of certain police officers, as amended by
 7   section 2 of part A of chapter 55 of the laws of 2021, is amended to
 8   read as follows:
 9     § 3. This act shall take effect on the first day of November next
10   succeeding the date on which it shall have become a law, and shall
11   remain in effect until the first day of September, [2023] 2025, when it
12   shall expire and be deemed repealed.
13     § 3. Section 3 of chapter 886 of the laws of 1972, amending the
14   correction law and the penal law relating to prisoner furloughs in
15   certain cases and the crime of absconding therefrom, as amended by
16   section 3 of part A of chapter 55 of the laws of 2021, is amended to
17   read as follows:
18     § 3. This act shall take effect 60 days after it shall have become a
19   law and shall remain in effect until September 1, [2023] 2025.
20     § 4. Section 20 of chapter 261 of the laws of 1987, amending chapters
21   50, 53 and 54 of the laws of 1987, the correction law, the penal law and
22   other chapters and laws relating to correctional facilities, as amended
23   by section 4 of part A of chapter 55 of the laws of 2021, is amended to
24   read as follows:
25     § 20. This act shall take effect immediately except that section thir-
26   teen of this act shall expire and be of no further force or effect on
27   and after September 1, [2023] 2025 and shall not apply to persons
28   committed to the custody of the department after such date, and provided
29   further that the commissioner of corrections and community supervision
30   shall report each January first and July first during such time as the
31   earned eligibility program is in effect, to the chairmen of the senate
32   crime victims, crime and correction committee, the senate codes commit-
33   tee, the assembly correction committee, and the assembly codes commit-
34   tee, the standards in effect for earned eligibility during the prior
35   six-month period, the number of inmates subject to the provisions of
36   earned eligibility, the number who actually received certificates of
37   earned eligibility during that period of time, the number of inmates
38   with certificates who are granted parole upon their first consideration
39   for parole, the number with certificates who are denied parole upon
40   their first consideration, and the number of individuals granted and
41   denied parole who did not have earned eligibility certificates.
42     § 5. Subdivision (q) of section 427 of chapter 55 of the laws of 1992,
43   amending the tax law and other laws relating to taxes, surcharges, fees
44   and funding, as amended by section 5 of part A of chapter 55 of the laws
45   of 2021, is amended to read as follows:
46     (q) the provisions of section two hundred eighty-four of this act
47   shall remain in effect until September 1, [2023] 2025 and be applicable
48   to all persons entering the program on or before August 31, [2023] 2025.
49     § 6. Section 10 of chapter 339 of the laws of 1972, amending the
50   correction law and the penal law relating to inmate work release,
51   furlough and leave, as amended by section 6 of part A of chapter 55 of
52   the laws of 2021, is amended to read as follows:
53     § 10. This act shall take effect 30 days after it shall have become a
54   law and shall remain in effect until September 1, [2023] 2025, and
55   provided further that the commissioner of correctional services shall
56   report each January first, and July first, to the chairman of the senate
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 1   crime victims, crime and correction committee, the senate codes commit-
 2   tee, the assembly correction committee, and the assembly codes commit-
 3   tee, the number of eligible inmates in each facility under the custody
 4   and control of the commissioner who have applied for participation in
 5   any program offered under the provisions of work release, furlough, or
 6   leave, and the number of such inmates who have been approved for partic-
 7   ipation.
 8     § 7. Subdivision (c) of section 46 of chapter 60 of the laws of 1994,
 9   relating to certain provisions which impact upon expenditure of certain
10   appropriations made by chapter 50 of the laws of 1994 enacting the state
11   operations budget, as amended by section 7 of part A of chapter 55 of
12   the laws of 2021, is amended to read as follows:
13     (c) sections forty-one and forty-two of this act shall expire Septem-
14   ber 1, [2023] 2025; provided, that the provisions of section forty-two
15   of this act shall apply to inmates entering the work release program on
16   or after such effective date; and
17     § 8. Subdivision (aa) of section 427 of chapter 55 of the laws of
18   1992, amending the tax law and other laws relating to taxes, surcharges,
19   fees and funding, as amended by section 10 of part A of chapter 55 of
20   the laws of 2021, is amended to read as follows:
21     (aa) the provisions of sections three hundred eighty-two, three
22   hundred eighty-three and three hundred eighty-four of this act shall
23   expire on September 1, [2023] 2025;
24     § 9. Section 12 of chapter 907 of the laws of 1984, amending the
25   correction law, the New York city criminal court act and the executive
26   law relating to prison and jail housing and alternatives to detention
27   and incarceration programs, as amended by section 11 of part A of chap-
28   ter 55 of the laws of 2021, is amended to read as follows:
29     § 12. This act shall take effect immediately, except that the
30   provisions of sections one through ten of this act shall remain in full
31   force and effect until September 1, [2023] 2025 on which date those
32   provisions shall be deemed to be repealed.
33     § 10. Subdivision (p) of section 406 of chapter 166 of the laws of
34   1991, amending the tax law and other laws relating to taxes, as amended
35   by section 12 of part A of chapter 55 of the laws of 2021, is amended to
36   read as follows:
37     (p) The amendments to section 1809 of the vehicle and traffic law made
38   by sections three hundred thirty-seven and three hundred thirty-eight of
39   this act shall not apply to any offense committed prior to such effec-
40   tive date; provided, further, that section three hundred forty-one of
41   this act shall take effect immediately and shall expire November 1, 1993
42   at which time it shall be deemed repealed; sections three hundred
43   forty-five and three hundred forty-six of this act shall take effect
44   July 1, 1991; sections three hundred fifty-five, three hundred fifty-
45   six, three hundred fifty-seven and three hundred fifty-nine of this act
46   shall take effect immediately and shall expire June 30, 1995 and shall
47   revert to and be read as if this act had not been enacted; section three
48   hundred fifty-eight of this act shall take effect immediately and shall
49   expire June 30, 1998 and shall revert to and be read as if this act had
50   not been enacted; section three hundred sixty-four through three hundred
51   sixty-seven of this act shall apply to claims filed on or after such
52   effective date; sections three hundred sixty-nine, three hundred seven-
53   ty-two, three hundred seventy-three, three hundred seventy-four, three
54   hundred seventy-five and three hundred seventy-six of this act shall
55   remain in effect until September 1, [2023] 2025, at which time they
56   shall be deemed repealed; provided, however, that the          mandatory
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 1   surcharge provided in section three hundred seventy-four of this act
 2   shall apply to parking violations occurring on or after said effective
 3   date; and provided further that the amendments made to section 235 of
 4   the vehicle and traffic law by section three hundred seventy-two of this
 5   act, the amendments made to section 1809 of the vehicle and traffic law
 6   by sections three hundred thirty-seven and three hundred thirty-eight of
 7   this act and the amendments made to section 215-a of the labor law by
 8   section three hundred seventy-five of this act shall expire on September
 9   1, [2023] 2025 and upon such date the provisions of such subdivisions
10   and sections shall revert to and be read as if the provisions of this
11   act had not been enacted; the amendments to subdivisions 2 and 3 of
12   section 400.05 of the penal law made by sections three hundred seventy-
13   seven and three hundred seventy-eight of this act shall expire on July
14   1, 1992 and upon such date the provisions of such subdivisions shall
15   revert and shall be read as if the provisions of this act had not been
16   enacted; the state board of law examiners shall take such action as is
17   necessary to assure that all applicants for examination for admission to
18   practice as an attorney and counsellor at law shall pay the increased
19   examination fee provided for by the amendment made to section 465 of the
20   judiciary law by section three hundred eighty of this act for any exam-
21   ination given on or after the effective date of this act notwithstanding
22   that an applicant for such examination may have prepaid a lesser fee for
23   such examination as required by the provisions of such section 465 as of
24   the date prior to the effective date of this act; the provisions of
25   section 306-a of the civil practice law and rules as added by section
26   three hundred eighty-one of this act shall apply to all actions pending
27   on or commenced on or after September 1, 1991, provided, however, that
28   for the purposes of this section service of such summons made prior to
29   such date shall be deemed to have been completed on September 1, 1991;
30   the provisions of section three hundred eighty-three of this act shall
31   apply to all money deposited in connection with a cash bail or a
32   partially secured bail bond on or after such effective date; and the
33   provisions of sections three hundred eighty-four and three hundred
34   eighty-five of this act shall apply only to jury service commenced
35   during a judicial term beginning on or after the effective date of this
36   act; provided, however, that nothing contained herein shall be deemed to
37   affect the application, qualification, expiration or repeal of any
38   provision of law amended by any section of this act and such provisions
39   shall be applied or qualified or shall expire or be deemed repealed in
40   the same manner, to the same extent and on the same date as the case may
41   be as otherwise provided by law;
42     § 11. Subdivision 8 of section 1809 of the vehicle and traffic law, as
43   amended by section 13 of part A of chapter 55 of the laws of 2021, is
44   amended to read as follows:
45     8. The provisions of this section shall only apply to offenses commit-
46   ted on or before September first, two thousand [twenty-three] twenty-
47   five.
48     § 12. Section 6 of chapter 713 of the laws of 1988, amending the vehi-
49   cle and traffic law relating to the ignition interlock device program,
50   as amended by section 14 of part A of chapter 55 of the laws of 2021, is
51   amended to read as follows:
52     § 6. This act shall take effect on the first day of April next
53   succeeding the date on which it shall have become a law; provided,
54   however, that effective immediately, the addition, amendment or repeal
55   of any rule or regulation necessary for the implementation of the fore-
56   going sections of this act on their effective date is authorized and
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 1   directed to be made and completed on or before such effective date and
 2   shall remain in full force and effect until the first day of September,
 3   [2023] 2025 when upon such date the provisions of this act shall be
 4   deemed repealed.
 5     § 13. Paragraph a of subdivision 6 of section 76 of chapter 435 of the
 6   laws of 1997, amending the military law and other laws relating to vari-
 7   ous provisions, as amended by section 15 of part A of chapter 55 of the
 8   laws of 2021, is amended to read as follows:
 9     a. sections forty-three through forty-five of this act shall expire
10   and be deemed repealed on September 1, [2023] 2025;
11     § 14. Section 4 of part D of chapter 412 of the laws of 1999, amending
12   the civil practice law and rules and the court of claims act relating to
13   prisoner litigation reform, as amended by section 16 of part A of chap-
14   ter 55 of the laws of 2021, is amended to read as follows:
15     § 4. This act shall take effect 120 days after it shall have become a
16   law and shall remain in full force and effect until September 1, [2023]
17   2025, when upon such date it shall expire.
18     § 15. Subdivision 2 of section 59 of chapter 222 of the laws of 1994,
19   constituting the family protection and domestic violence intervention
20   act of 1994, as amended by section 17 of part A of chapter 55 of the
21   laws of 2021, is amended to read as follows:
22     2. Subdivision 4 of section 140.10 of the criminal procedure law as
23   added by section thirty-two of this act shall take effect January 1,
24   1996 and shall expire and be deemed repealed on September 1, [2023]
25   2025.
26     § 16. Section 5 of chapter 505 of the laws of 1985, amending the crim-
27   inal procedure law relating to the use of closed-circuit television and
28   other protective measures for certain child witnesses, as amended by
29   section 18 of part A of chapter 55 of the laws of 2021, is amended to
30   read as follows:
31     § 5. This act shall take effect immediately and shall apply to all
32   criminal actions and proceedings commenced prior to the effective date
33   of this act but still pending on such date as well as all criminal
34   actions and proceedings commenced on or after such effective date and
35   its provisions shall expire on September 1, [2023] 2025, when upon such
36   date the provisions of this act shall be deemed repealed.
37     § 17. Subdivision d of section 74 of chapter 3 of the laws of 1995,
38   enacting the sentencing reform act of 1995, as amended by section 19 of
39   part A of chapter 55 of the laws of 2021, is amended to read as follows:
40     d. Sections one-a through twenty, twenty-four through twenty-eight,
41   thirty through thirty-nine, forty-two and forty-four of this act shall
42   be deemed repealed on September 1, [2023] 2025;
43     § 18. Section 2 of chapter 689 of the laws of 1993, amending the crim-
44   inal procedure law relating to electronic court appearance in certain
45   counties, as amended by section 20 of part A of chapter 55 of the laws
46   of 2021, is amended to read as follows:
47     § 2. This act shall take effect immediately, except that the
48   provisions of this act shall be deemed to have been in full force and
49   effect since July 1, 1992 and the provisions of this act shall expire
50   September 1, [2023] 2025 when upon such date the provisions of this act
51   shall be deemed repealed.
52     § 19. Section 3 of chapter 688 of the laws of 2003, amending the exec-
53   utive law relating to enacting the interstate compact for adult offender
54   supervision, as amended by section 21 of part A of chapter 55 of the
55   laws of 2021, is amended to read as follows:
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 1     § 3. This act shall take effect immediately, except that section one
 2   of this act shall take effect on the first of January next succeeding
 3   the date on which it shall have become a law, and shall remain in effect
 4   until the first of September, [2023] 2025, upon which date this act
 5   shall be deemed repealed and have no further force and effect; provided
 6   that section one of this act shall only take effect with respect to any
 7   compacting state which has enacted an interstate compact entitled
 8   "Interstate compact for adult offender supervision" and having an iden-
 9   tical effect to that added by section one of this act and provided
10   further that with respect to any such compacting state, upon the effec-
11   tive date of section one of this act, section 259-m of the executive law
12   is hereby deemed REPEALED and section 259-mm of the executive law, as
13   added by section one of this act, shall take effect; and provided
14   further that with respect to any state which has not enacted an inter-
15   state compact entitled "Interstate compact for adult offender super-
16   vision" and having an identical effect to that added by section one of
17   this act, section 259-m of the executive law shall take effect and the
18   provisions of section one of this act, with respect to any such state,
19   shall have no force or effect until such time as such state shall adopt
20   an interstate compact entitled "Interstate compact for adult offender
21   supervision" and having an identical effect to that added by section one
22   of this act in which case, with respect to such state, effective imme-
23   diately, section 259-m of the executive law is deemed repealed and
24   section 259-mm of the executive law, as added by section one of this
25   act, shall take effect.
26     § 20. Section 8 of part H of chapter 56 of the laws of 2009, amending
27   the correction law relating to limiting the closing of certain correc-
28   tional facilities, providing for the custody by the department of
29   correctional services of inmates serving definite sentences, providing
30   for custody of federal prisoners and requiring the closing of certain
31   correctional facilities, as amended by section 22 of part A of chapter
32   55 of the laws of 2021, is amended to read as follows:
33     § 8. This act shall take effect immediately; provided, however that
34   sections five and six of this act shall expire and be deemed repealed
35   September 1, [2023] 2025.
36     § 21. Section 3 of part C of chapter 152 of the laws of 2001, amending
37   the military law relating to military funds of the organized militia, as
38   amended by section 23 of part A of chapter 55 of the laws of 2021, is
39   amended to read as follows:
40     § 3. This act shall take effect immediately; provided however that the
41   amendments made to subdivision 1 of section 221 of the military law by
42   section two of this act shall expire and be deemed repealed September 1,
43   [2023] 2025.
44     § 22. Section 5 of chapter 554 of the laws of 1986, amending the
45   correction law and the penal law relating to providing for community
46   treatment facilities and establishing the crime of absconding from the
47   community treatment facility, as amended by section 24 of part A of
48   chapter 55 of the laws of 2021, is amended to read as follows:
49     § 5. This act shall take effect immediately and shall remain in full
50   force and effect until September 1, [2023] 2025, and provided further
51   that the commissioner of correctional services shall report each January
52   first and July first during such time as this legislation is in effect,
53   to the chairmen of the senate crime victims, crime and correction
54   committee, the senate codes committee, the assembly correction commit-
55   tee, and the assembly codes committee, the number of individuals who are
56   released to community treatment facilities during the previous six-month
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 1   period, including the total number for each date at each facility who
 2   are not residing within the facility, but who are required to report to
 3   the facility on a daily or less frequent basis.
 4     § 23. Section 2 of part F of chapter 55 of the laws of 2018, amending
 5   the criminal procedure law relating to pre-criminal proceeding settle-
 6   ments in the city of New York, as amended by section 25 of part A of
 7   chapter 55 of the laws of 2021, is amended to read as follows:
 8     § 2. This act shall take effect immediately and shall remain in full
 9   force and effect until March 31, [2023] 2025, when it shall expire and
10   be deemed repealed.
11     § 24. This act shall take effect immediately.

12                                    PART B

13                             Intentionally Omitted

14                                    PART C

15                             Intentionally Omitted

16                                    PART D

17                             Intentionally Omitted

18                                    PART E

19                             Intentionally Omitted

20                                    PART F

21     Section 1. Section 265.01-e of the penal law, as added by chapter 371
22   of the laws of 2022, is amended to read as follows:
23   § 265.01-e Criminal possession of a firearm, rifle or shotgun in a
24                sensitive location.
25     1. A person is guilty of criminal possession of a firearm, rifle or
26   shotgun in a sensitive location when such person possesses a firearm,
27   rifle or shotgun in or upon a sensitive location, and such person knows
28   or reasonably should know such location is a sensitive location.
29     2. For the purposes of this section, a sensitive location shall mean:
30     (a) any place owned or under the control of federal, state or local
31   government, for the purpose of government administration, including
32   courts;
33     (b) any location providing health, behavioral health, or chemical
34   dependance care or services;
35     (c) any place of worship [or religious observation], except for those
36   persons responsible for security at such place of worship;
37     (d) libraries, public playgrounds, public parks, and zoos, provided
38   that for the purposes of this section a "public park" shall not include
39   (i) any privately held land within a public park not dedicated to public
40   use or (ii) the forest preserve as defined in subdivision six of section
41   9-0101 of the environmental conservation law;
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 1     (e) the location of any program licensed, regulated, certified, fund-
 2   ed, or approved by the office of children and family services that
 3   provides services to children, youth, or young adults, any legally
 4   exempt childcare provider; a childcare program for which a permit to
 5   operate such program has been issued by the department of health and
 6   mental hygiene pursuant to the health code of the city of New York;
 7     (f) nursery schools, preschools, and summer camps; provided that for
 8   the purposes of this section, nothing shall prohibit the activity
 9   permitted under subdivisions seven-c, seven-d, and seven-e of section
10   265.20 of this article where such activity occurs at a summer camp in
11   accordance with all applicable local, state, and federal laws, rules,
12   and regulations;
13     (g) the location of any program licensed, regulated, certified, oper-
14   ated, or funded by the office for people with developmental disabili-
15   ties;
16     (h) the location of any program licensed, regulated, certified, oper-
17   ated, or funded by office of addiction services and supports;
18     (i) the location of any program licensed, regulated, certified, oper-
19   ated, or funded by the office of mental health;
20     (j) the location of any program licensed, regulated, certified, oper-
21   ated, or funded by the office of temporary and disability assistance;
22     (k) homeless shelters, runaway homeless youth shelters, family shel-
23   ters, shelters for adults, domestic violence shelters, and emergency
24   shelters, and residential programs for victims of domestic violence;
25     (l) residential settings licensed, certified, regulated, funded, or
26   operated by the department of health;
27     (m) in or upon any building or grounds, owned or leased, of any educa-
28   tional institutions, colleges and universities, licensed private career
29   schools, school districts, public schools, private schools licensed
30   under article one hundred one of the education law, charter schools,
31   non-public schools, board of cooperative educational services, special
32   act schools, preschool special education programs, private residential
33   or non-residential schools for the education of students with disabili-
34   ties, and any state-operated or state-supported schools;
35     (n) any place, conveyance, or vehicle used for public transportation
36   or public transit, subway cars, train cars, buses, ferries, railroad,
37   omnibus, marine or aviation transportation; or any facility used for or
38   in connection with service in the transportation of           passengers,
39   airports, train stations, subway and rail stations, and bus terminals;
40     (o) any establishment [issued a] holding an active license for
41   on-premise consumption pursuant to article four, four-A, five, or six of
42   the alcoholic beverage control law where alcohol is consumed and any
43   establishment licensed under article four of the cannabis law for
44   on-premise consumption;
45     (p) any place used for the performance, art entertainment, gaming, or
46   sporting events such as theaters, stadiums, racetracks, museums, amuse-
47   ment parks, performance venues, concerts, exhibits, conference centers,
48   banquet halls, and gaming facilities and video lottery terminal facili-
49   ties as licensed by the gaming commission;
50     (q) any location being used as a polling place;
51     (r) any public sidewalk or other public area restricted from general
52   public access for a limited time or special event that has been issued a
53   permit for such time or event by a governmental entity, or subject to
54   specific, heightened law enforcement protection, or has otherwise had
55   such access restricted by a governmental entity, provided such location
56   is identified as such by clear and conspicuous signage;
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 1     (s) any gathering of individuals to collectively express their consti-
 2   tutional rights to protest or assemble;
 3     (t) the area commonly known as Times Square, as such area is deter-
 4   mined and identified by the city of New York; provided such area shall
 5   be clearly and conspicuously identified with signage.
 6     3. This section shall not apply to:
 7     (a) [consistent with federal law, law enforcement who qualify to carry
 8   under the federal law enforcement officers safety act,] qualified law
 9   enforcement officers who are authorized to carry concealed firearms
10   pursuant to 18 U.S.C 926B, or qualified retired law enforcement officers
11   who are authorized to carry concealed firearms pursuant to 18 U.S.C.
12   926C;
13     (b) persons who are police officers as defined in subdivision thirty-
14   four of section 1.20 of the criminal procedure law;
15     (c) persons who are designated peace officers by section 2.10 of the
16   criminal procedure law;
17     (d) persons who were employed as police officers as defined in subdi-
18   vision thirty-four of section 1.20 of the criminal procedure law but are
19   retired;
20     (e) security guards as defined by and registered under article seven-A
21   of the general business law, who have been granted a special armed
22   registration card, while at the location of their employment and during
23   their work hours as such a security guard;
24     (f) active-duty military personnel;
25     (g) persons licensed under paragraph (c), (d) or (e) of subdivision
26   two of section 400.00 of this chapter while in the course of his or her
27   official duties;
28     (h) a government employee under the express written consent of such
29   employee's supervising government entity for the purposes of natural
30   resource protection and management;
31     (i) persons while lawfully engaged in taking of wildlife or attempts
32   to take wildlife pursuant to a hunting [activity, including hunter
33   education training] permit or license issued by the department of envi-
34   ronmental conservation, or as otherwise authorized pursuant to the envi-
35   ronmental conservation law, and persons while lawfully engaged in hunter
36   education training, marksmanship practice, marksmanship competition or
37   training, or training in the safe handling and use of firearms, in
38   accordance with all applicable local, state, and federal laws, rules,
39   and regulations; [or]
40     (j) persons operating a program in a sensitive location out of their
41   residence, [as defined by this section,] which is licensed, certified,
42   authorized, or funded by the state or a municipality, so long as such
43   possession is in compliance with any rules or regulations applicable to
44   the operation of such program and use or storage of firearms[.];
45     (k) persons, while acting in the scope of their official duties, who
46   are employed in the revenue control and security departments of the
47   metropolitan transportation authority, or the New York city transit
48   authority or an affiliate or subsidiary thereof, who are authorized to
49   carry a firearm as part of their employment;
50     (l) persons while lawfully engaged in historical reenactments, educa-
51   tional programming involving historical weapons of warfare, or motion
52   picture or theatrical productions, in accordance with all applicable
53   local, state, and federal laws, rules and regulations;
54     (m) persons, while acting within the scope of their official duties,
55   who are responsible for the storage or display of antique firearms,
56   rifles or shotguns at museums and historic sites;
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 1     (n) persons while participating in military ceremonies, funerals, and
 2   honor guards; or
 3     (o) persons while lawfully engaging in learning, practicing, training
 4   for, competing in, or travelling into or within the state to learn,
 5   practice, train for, or compete in, the sport of biathlon, in accordance
 6   with all applicable local, state, and federal laws, rules, and regu-
 7   lations.
 8     Criminal possession of a firearm, rifle or shotgun in a sensitive
 9   location is a class E felony.
10     § 2. Section 265.01-d of the penal law, as added by chapter 371 of the
11   laws of 2022, is amended to read as follows:
12   § 265.01-d Criminal possession of a weapon in a restricted location.
13     1. A person is guilty of criminal possession of a weapon in a
14   restricted location when such person possesses a firearm, rifle, or
15   shotgun and enters into or remains on or in private property where such
16   person knows or reasonably should know that the owner or lessee of such
17   property has not permitted such possession by clear and conspicuous
18   signage indicating that the carrying of firearms, rifles, or shotguns on
19   their property is permitted or [has] by otherwise [given] giving express
20   consent.
21     2. This section shall not apply to:
22     (a) police officers as defined in section 1.20 of the criminal proce-
23   dure law;
24     (b) persons who are designated peace officers as defined in section
25   2.10 of the criminal procedure law;
26     (c) [persons who were employed as police officers as defined in
27   section 1.20 of the criminal procedure law, but are] qualified law
28   enforcement officers who are authorized to carry concealed firearms
29   pursuant to 18 U.S.C. 926B, or qualified retired law enforcement offi-
30   cers who are authorized to carry concealed firearms pursuant to 18
31   U.S.C. 926C;
32     (d) security guards as defined by and registered under article seven-A
33   of the general business law who has been granted a special armed regis-
34   tration card, while at the location of their employment and during their
35   work hours as such a security guard;
36     (e) active-duty military personnel;
37     (f) persons licensed under paragraph (c), (d) or (e) of subdivision
38   two of section 400.00 of this chapter while in the course of his or her
39   official duties; [or]
40     (g) persons while lawfully engaged in taking of wildlife or attempts
41   to take wildlife pursuant to a hunting [activity] permit or license
42   issued by the department of environmental conservation, or as otherwise
43   authorized pursuant to section 11-0707 and 11-0709 of the environmental
44   conservation law; or
45     (h) persons, while acting in the scope of their official duties, who
46   are employed in the revenue control and security departments of the
47   metropolitan transportation authority, or the New York city transit
48   authority or an affiliate or subsidiary thereof, who are authorized to
49   carry a firearm as part of their employment.
50     Criminal possession of a weapon in a restricted location is a class E
51   felony.
52     § 3. Subdivision 2 of section 265.45 of the penal law, as added by
53   chapter 371 of the laws of 2022, is amended to read as follows:
54     2. No person shall store or otherwise leave a rifle, shotgun, or
55   firearm out of [his or her] such person's immediate possession or
56   control inside a vehicle without first removing the ammunition from and
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 1   securely locking such rifle, shotgun, or firearm in an appropriate safe
 2   storage depository out of sight from outside of the vehicle; provided,
 3   however, this subdivision shall not apply to a police officer as such
 4   term is defined in subdivision thirty-four of section 1.20 of the crimi-
 5   nal procedure law, a qualified law enforcement officer authorized to
 6   carry concealed firearms pursuant to 18 U.S.C. 926B, or a person in the
 7   military service of the United States or the state of New York when such
 8   police officer, qualified law enforcement officer, or person in such
 9   military service is acting in the course of such person's official duty
10   or employment and otherwise complying with any applicable standards or
11   requirements pertaining to the storage of such rifle, shotgun, or
12   firearm.
13     § 4. This act shall take effect immediately.

14                                    PART G

15     Section 1. The state finance law is amended by adding a new section
16   99-qq to read as follows:
17     § 99-qq. Hazard mitigation state revolving loan fund. 1. There is
18   hereby established in the joint custody of the state comptroller and the
19   commissioner of taxation and finance a fund to be known as the "hazard
20   mitigation revolving loan fund".
21     2. The fund shall consist of all moneys appropriated therefore, all
22   moneys received by the state pursuant to a capitalization grant from the
23   federal emergency management agency in accordance with the Safeguarding
24   Tomorrow through Ongoing Risk Mitigation Act of 2020 (STORM Act) (P.L.
25   116-284), payments of principal and interest on loans made from the
26   fund, and interest earned on amounts in the fund.
27     3. Moneys of the account, when allocated, shall be available to the
28   commissioner of the Division of Homeland Security and Emergency Services
29   to make loans pursuant to section seven hundred nineteen of the execu-
30   tive law.
31     § 2. The executive law is amended by adding a new section 719 to read
32   as follows:
33     § 719. Loans for eligible hazard mitigation activities.         1. The
34   commissioner may make loans to local governments for eligible hazard
35   mitigation activities, as defined in the STORM Act and corresponding
36   federal regulations, to reduce disaster risks for homeowners, busi-
37   nesses, non-profit organizations, and communities subject to available
38   funds for such purpose pursuant to section ninety-nine-qq of the state
39   finance law.
40     2. The commissioner may make loans under this section subject to such
41   other terms and conditions of the STORM Act, and related federal and
42   state rules, regulations, policies and guidelines.
43     § 3. This act shall take effect immediately.

44                                    PART H

45     Section 1. Subdivision 3 of section 3 of the volunteer firefighters'
46   benefit law, as amended by chapter 458 of the laws of 1996, is amended
47   to read as follows:
48     3. "Line of duty" means the performance by a volunteer firefighter as
49   a volunteer firefighter of the duties and activities described in subdi-
50   vision one of section five of this chapter and the same such duties and
51   activities performed for a specialized team established pursuant to the
52   provisions of section two hundred nine-bb of the general municipal law
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 1   for which the volunteer firefighter does not receive any remuneration or
 2   a gratuity and shall be deemed to include any date of injury as deter-
 3   mined by the workers' compensation board pursuant to the provisions of
 4   section forty-one of this chapter. The following shall not be deemed to
 5   be remuneration or a gratuity: receipt of a training stipend as outlined
 6   in section two hundred-aa of the general municipal law; reimbursement of
 7   expenses for meals, lodging and actual and necessary travel; the receipt
 8   of a mileage allowance in lieu of travel expense; reimbursement of
 9   expenses for registration and tuition fees payable under section seven-
10   ty-two-g of the general municipal law, and the acceptance of transporta-
11   tion, food, drink, shelter, clothing and similar items while on duty or
12   engaged in such activities.
13     § 2. The general municipal law is amended by adding a new section
14   200-aa to read as follows:
15     § 200-aa. Training stipend for volunteer firefighters. 1. For purposes
16   of this section:
17     (a) "fire company" shall have the same meaning as defined in section
18   three of the volunteer firefighters' benefit law.
19     (b) "training stipend" means payment of a nominal fee to a volunteer
20   firefighter of a stipend for the completion of certain firefighter
21   training, as identified and published by the office of fire prevention
22   and control.
23     (c) "volunteer firefighter" shall have the same meaning as defined in
24   section three of the volunteer firefighters' benefit law.
25     2. The governing board of a city, town, village or fire district may,
26   by local law, ordinance or resolution, authorize a fire company to
27   provide training stipends to volunteer firefighters.
28     3. The office of fire prevention and control may make available state
29   funds through a training stipend to volunteer         firefighters   for
30   completion of certain firefighter training, as identified and published
31   by the office of fire prevention and control.
32     4. No volunteer firefighter may receive a training stipend from both a
33   volunteer fire company pursuant to subdivision two of this section and
34   the office of fire prevention and control pursuant to subdivision three
35   of this section for completion of the same firefighter training.
36     5. Any training stipend provided under this section shall not be
37   deemed remuneration or gratuity under the volunteer firefighters' bene-
38   fit law or any other provision of law and shall not interfere with or
39   impact the volunteer status of volunteer firefighters under the volun-
40   teer firefighters' benefit law or any other provision of law.
41     6. The office of fire prevention and control shall promulgate rules
42   and regulations necessary to implement the provisions of this section.
43     § 3. Paragraph c of subdivision 1 of section 205-g of the general
44   municipal law, as added by chapter 559 of the laws of 2006, is amended
45   to read as follows:
46     c. "Line of duty" means the performance by a volunteer firefighter of
47   the duties and activities described in subdivision one of section five
48   of the volunteer firefighters' benefit law and the same such duties and
49   activities performed for a specialized team established pursuant to the
50   provisions of section two hundred nine-bb of this article for which the
51   volunteer firefighter does not receive any remuneration or a gratuity
52   and shall be deemed to include any date of injury as determined by the
53   workers' compensation board pursuant to the provisions of section
54   forty-one of the volunteer firefighters' benefit law. The following
55   shall not be deemed to be remuneration or a gratuity: reimbursement of
56   expenses for meals, lodging and actual and necessary travel; the receipt
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 1   of a mileage allowance in lieu of travel expense; reimbursement of
 2   expenses for registration and tuition fees payable under section seven-
 3   ty-two-g of this chapter, [and] the acceptance of transportation, food,
 4   drink, shelter, clothing and similar items while on duty or engaged in
 5   such activities; and receipt of a training stipend as outlined in
 6   section two hundred-aa of this article.
 7     § 4. This act shall take effect on the one hundred twentieth day after
 8   it shall have become a law. Effective immediately, the addition, amend-
 9   ment and/or repeal of any rule or regulation necessary for the implemen-
10   tation of this act on its effective date is authorized to be made and
11   completed on or before such date.

12                                    PART I

13                             Intentionally Omitted

14                                    PART J

15     Section 1. Subdivisions 1, 2 and 6 of section 217 of the military law,
16   subdivisions 1 and 6 as amended by chapter 141 of the laws of 1988, and
17   subdivision 2 as amended by chapter 63 of the laws of 1976, are amended
18   and a new subdivision 8 is added to read as follows:
19     1. Any member of the organized militia who (a) shall be disabled or
20   has been so disabled in the performance of any actual service of this
21   state within three years preceding the application for a pension under
22   this chapter, in case of riots, tumults, breach of the peace, resistance
23   to process, invasion, insurrection or imminent danger thereof, or when-
24   ever called upon in aid of the civil authorities, or while engaged in
25   any lawfully ordered parade, drill, encampment or inspection, shall,
26   upon proof of the fact, as hereinafter provided, be placed on the disa-
27   bility retired roll of the state and shall receive out of any moneys in
28   the treasury of the state, not otherwise appropriated, upon the approval
29   of the chief of staff and approval of the governor, the same pension or
30   reward that persons under similar circumstances receive from the United
31   States[.], or
32     (b) was activated on state active duty on or after September eleventh,
33   two thousand one, to participate in World Trade Center site rescue,
34   recovery, or cleanup operations as part of such state active duty, and
35   who is determined to have incurred a qualifying World Trade Center
36   condition, as hereinafter provided, shall be entitled to a performance
37   of duty disability pension equivalent to three-quarters of the member's
38   final annual pay as provided for under this chapter.   The deadline for
39   submitting any qualifying claim under this paragraph shall be on or
40   before September eleventh, two thousand twenty-six. The adjutant general
41   of the division of military and naval affairs is authorized to promul-
42   gate regulations to implement the provisions of this section.
43     2. In case any such member of the organized militia (a) shall die as
44   the result of any such wound, injury or disease within one year after it
45   has been incurred or contracted, the surviving spouse, children under
46   twenty-one years of age or dependent parent of such member of the organ-
47   ized militia shall receive such pension and reward as persons under
48   similar circumstances receive from the United States[.], or
49     (b) was activated on state active duty on or after September eleventh,
50   two thousand one, to participate in World Trade Center site rescue,
51   recovery, or cleanup operations as part of such state active duty, and
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 1   whose death is determined to be the result of incurring a qualifying
 2   World Trade Center condition, as hereinafter provided, the surviving
 3   spouse, children under twenty-one years of age or dependent parent of
 4   such member of the organized militia shall be entitled to an accidental
 5   death benefit equivalent to one-half of the member's final annual pay as
 6   provided under this chapter. The deadline for submitting any qualifying
 7   claim under this paragraph shall be on or before September eleventh, two
 8   thousand twenty-six. The adjutant general of the division of military
 9   and naval affairs is authorized to promulgate regulations to implement
10   the provisions of this section.
11     6. Before the name of any person is placed upon the disability retired
12   roll of the state under this section, proof shall be made under regu-
13   lations issued pursuant to this chapter that the applicant is entitled
14   to such pension or reward; provided, however, that in the case of the
15   death or disability of a member of the organized militia who partic-
16   ipated in World Trade Center rescue, recovery, or cleanup operations,
17   and in which such death or disability is determined, pursuant to regu-
18   lations issued under this chapter, to have been the result of a qualify-
19   ing World Trade Center condition, then unless the contrary is proved by
20   competent evidence, it shall be presumed that such death or disability
21   was the natural and proximate result of an accident sustained in the
22   performance of actual service of this state and not as a result of will-
23   ful negligence on the part of such member. The chief of staff, with the
24   approval of the governor, shall cause to be [striken] stricken from such
25   roll the name of any person whenever it appears by satisfactory proof
26   that such name was put upon such roll through false or fraudulent
27   representations. The chief of staff, with the approval of the governor,
28   may increase, reduce or withdraw any pension or reward according to the
29   right and justice and the practice under the laws and regulations of the
30   United States.
31     8. For the purposes of this section:
32     (a) "Qualifying World Trade Center condition" shall mean a qualifying
33   condition or impairment of health resulting in disability to a member of
34   the organized militia who participated in World Trade Center rescue,
35   recovery, or cleanup operations for a qualifying period.
36     (b) "Qualifying condition or impairment of health" shall mean a quali-
37   fying physical condition, or a qualifying psychological condition, or
38   both.
39     (c) "Qualifying physical condition" and "qualifying psychological
40   condition" shall have the same meaning as such terms are defined in
41   subdivision thirty-six of section two of the retirement and social secu-
42   rity law.
43     (d) "Participated in World Trade Center rescue, recovery, or cleanup
44   operations" shall mean any member of the organized militia who:      (i)
45   participated in the rescue, recovery, or cleanup operations at the World
46   Trade Center site; (ii) worked at the Fresh Kills Land Fill in New York;
47   (iii) worked at the New York city morgue or the temporary morgue on pier
48   locations on the west side of Manhattan; (iv) manned the barges between
49   the west side of Manhattan and the Fresh Kills Land Fill in New York; or
50   (v) repaired, cleaned or rehabilitated vehicles or equipment, including
51   emergency vehicle radio equipment owned by the city of New York that
52   were contaminated by debris in the World Trade Center site, regardless
53   of whether the work on the repair, cleaning or rehabilitation of said
54   vehicles and equipment was performed within the World Trade Center site,
55   provided such work was performed prior to decontamination of such vehi-
56   cles or equipment.
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1      (e) "World Trade Center site" shall mean anywhere below a line start-
2    ing from the Hudson River and Canal Street; east on Canal Street to Pike
3    Street; south on Pike Street to the East River; and extending to the
4    lower tip of Manhattan.
5      (f) "Qualifying period" shall mean: (i) any period of time within the
6    forty-eight hours after the first airplane hit the towers; or (ii) a
7    total of forty hours accumulated any time between September eleventh,
8    two thousand one and September twelfth, two thousand two.
9      § 2. This act shall take effect immediately.

10                                    PART K

11                             Intentionally Omitted

12                                    PART L

13                             Intentionally Omitted

14                                    PART M

15                             Intentionally Omitted

16                                    PART N

17                             Intentionally Omitted

18                                    PART O

19     Section 1. Section 5 of chapter 396 of the laws of 2010 amending the
20   alcoholic beverage control law relating to liquidator's permits and
21   temporary retail permits, as amended by section 1 of part M of chapter
22   55 of the laws of 2022, is amended to read as follows:
23     § 5. This act shall take effect on the sixtieth day after it shall
24   have become a law, provided that paragraph (b) of subdivision 1 of
25   section 97-a of the alcoholic beverage control law as added by section
26   two of this act shall expire and be deemed repealed October 12, [2023]
27   2024.
28     § 2. This act shall take effect immediately.

29                                    PART P

30                             Intentionally Omitted

31                                    PART Q

32     Section 1. Section 2 of chapter 303 of the laws of 1988, relating to
33   the extension of the state commission on the restoration of the capitol,
34   as amended by section 1 of part T of chapter 55 of the laws of 2018, is
35   amended to read as follows:
36     § 2. The temporary state commission on the restoration of the capitol
37   is hereby renamed as the state commission on the restoration of the
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 1   capitol (hereinafter to be referred to as the "commission") and is here-
 2   by continued until April 1, [2023] 2028. The commission shall consist
 3   of eleven members to be appointed as follows: five members shall be
 4   appointed by the governor; two members shall be appointed by the tempo-
 5   rary president of the senate; two members shall be appointed by the
 6   speaker of the assembly; one member shall be appointed by the minority
 7   leader of the senate; one member shall be appointed by the minority
 8   leader of the assembly, together with the commissioner of general
 9   services and the commissioner of parks, recreation and historic preser-
10   vation. The term for each elected member shall be for three years,
11   except that of the first five members appointed by the governor, one
12   shall be for a one year term, and two shall be for a two year term, and
13   one of the first appointments by the president of the senate and by the
14   speaker of the assembly shall be for a two year term. Any vacancy that
15   occurs in the commission shall be filled in the same manner in which the
16   original appointment was made. The commission shall elect a chairman and
17   a vice-chairman from among its members.      The members of the state
18   commission on the restoration of the capitol shall be deemed to be
19   members of the commission until their successors are appointed. The
20   members of the commission shall receive no compensation for their
21   services, but shall be reimbursed for their expenses actually and neces-
22   sarily incurred by them in the performance of their duties hereunder.
23     § 2. Section 9 of chapter 303 of the laws of 1988, relating to the
24   extension of the state commission on the restoration of the capitol, as
25   amended by section 2 of part T of chapter 55 of the laws of 2018, is
26   amended to read as follows:
27     § 9. This act shall take effect immediately, and shall remain in full
28   force and effect until April 1, [2023] 2028.
29     § 3. This act shall take effect immediately and shall be deemed to
30   have been in full force and effect on and after April 1, 2023; provided
31   that the amendments to section 2 of chapter 303 of the laws of 1988 made
32   by section one of this act shall not affect the expiration of such chap-
33   ter, and shall be deemed to expire therewith.

34                                    PART R

35   Section 1. Subdivision 7 of section 163 of the state finance law, as
36   amended by section 2 of subpart A of part KK of chapter 57 of the laws
37   of 2018, is amended to read as follows:
38     7. Method of procurement. Consistent with the requirements of subdivi-
39   sions three and four of this section, state agencies shall select among
40   permissible methods of procurement including, but not limited to, an
41   invitation for bid, request for proposals or other means of solicitation
42   pursuant to guidelines issued by the state procurement council. State
43   agencies may accept bids electronically including submission of the
44   statement of non-collusion required by section one hundred thirty-nine-d
45   of this chapter, and the statement of certification required by section
46   one hundred thirty-nine-l of this chapter[, and, starting April first,
47   two thousand twelve, and ending March thirty-first, two thousand
48   fifteen, may, for commodity, service and technology contracts require
49   electronic submission as the sole method for the submission of bids for
50   the solicitation. State agencies shall undertake no more than eighty-
51   five such electronic bid solicitations, none of which shall be reverse
52   auctions, prior to April first, two thousand fifteen. In addition, state
53   agencies may conduct up to twenty reverse auctions through electronic
54   means, prior to April first, two thousand fifteen. Prior to requiring
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 1   the electronic submission of bids, the agency shall make a determi-
 2   nation, which shall be documented in the procurement record, that elec-
 3   tronic submission affords a fair and equal opportunity for offerers to
 4   submit responsive offers.    Within thirty days of the completion of the
 5   eighty-fifth electronic bid solicitation, or by April first, two thou-
 6   sand fifteen, whichever is earlier, the commissioner shall prepare a
 7   report assessing the use of electronic submissions and make recommenda-
 8   tions regarding future use of this procurement method. In addition,
 9   within thirty days of the completion of the twentieth reverse auction
10   through electronic means, or by April first, two thousand fifteen,
11   whichever is earlier, the commissioner shall prepare a report assessing
12   the use of reverse auctions through electronic means and make recommen-
13   dations regarding future use of this procurement method. Such reports
14   shall be published on the website of the office of general services].
15   Except where otherwise provided by law, procurements shall be compet-
16   itive, and state agencies shall conduct formal competitive procurements
17   to the maximum extent practicable. State agencies shall document the
18   determination of the method of procurement and the basis of award in the
19   procurement record. Where the basis for award is the best value offer,
20   the state agency shall document, in the procurement record and in
21   advance of the initial receipt of offers, the determination of the eval-
22   uation criteria, which whenever possible, shall be quantifiable, and the
23   process to be used in the determination of best value and the manner in
24   which the evaluation process and selection shall be conducted.
25     § 2. Subdivision 7-a of section 163 of the state finance law is
26   REPEALED.
27     § 3. Section 163 of the state finance law is amended by adding two new
28   subdivisions 7-a and 7-b to read as follows:
29     7-a. Notwithstanding the electronic bid provisions set forth in subdi-
30   vision seven of this section, starting April first, two thousand twen-
31   ty-three, and ending March thirty-first, two thousand twenty-seven,
32   state agencies may require electronic submission as the sole method for
33   the submission of bids for commodity, service and technology contracts,
34   including submission of the statement of non-collusion required by
35   section one hundred thirty-nine-d of this chapter, and the statement of
36   certification required by section one hundred thirty-nine-l of this
37   chapter, and may require electronic signatures on all documents required
38   for submission of a bid, any resulting contracts, and           required
39   submissions during the term of any contract. Prior to requiring the
40   electronic submission of bids, the agency shall make a determination,
41   which shall be documented in the procurement record, that electronic
42   submission affords a fair and equal opportunity for offerers to submit
43   responsive offers, and that the electronic signature complies with the
44   provisions of article three of the state technology law.
45     7-b. On or before December first, two thousand twenty-six, the commis-
46   sioner of the office of general services shall submit to the speaker of
47   the assembly and the temporary president of the senate and post on the
48   website of the office of general services a report including, but not
49   limited to, the following information:
50     (a) which state agencies required electronic submission as the sole
51   method by which bids could be submitted for the period from April first,
52   two thousand twenty-three through March thirty-first, two thousand twen-
53   ty-six;
54     (b) the number and types of contracts for which such state agencies
55   required electronic submission as the sole method by which bids could be
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 1   submitted for the period from April first, two thousand twenty-three
 2   through March thirty-first, two thousand twenty-six;
 3     (c) the estimated savings to the state as a result of such state agen-
 4   cies requiring electronic submission as the sole method by which bids
 5   could be submitted in response to a solicitation and the basis on which
 6   the estimate is made;
 7     (d) to the extent practicable, the size, industry, minority- and
 8   women-owned business enterprise composition, service-disabled veteran-
 9   owned business enterprise composition, and geographic distribution of
10   those vendors that submitted bids in response to solicitations from
11   state agencies where electronic submission was the sole method by which
12   bids could be submitted for the period from April first, two thousand
13   twenty-three through March thirty-first, two thousand twenty-six;
14     (e) to the extent practicable, the size, industry, minority- and
15   women-owned business enterprise composition, service-disabled veteran-
16   owned business enterprise composition, and geographic distribution of
17   those vendors that submitted non-electronic bids in response to solic-
18   itations from state agencies where electronic submission was accepted
19   but not required for the period from April first, two thousand twenty-
20   three through March thirty-first, two thousand twenty-six; and
21     (f) recommendations for the future use of electronic bidding as a
22   permissible method of procurement.
23     § 4. This act shall take effect immediately; provided, however, that
24   the amendments to section 163 of the state finance law made by sections
25   one and three of this act shall not affect the repeal of such section
26   and shall be deemed repealed therewith; and provided further that the
27   changes made by this act shall not apply to any contracts or requests
28   for proposals issued before the effective date.

29                                    PART S

30     Section 1.    Section 57 of the civil service law, as added by chapter
31   83 of the laws of 1963, is amended to read as follows:
32     § 57. Continuous recruitment for certain positions. Notwithstanding
33   any other provisions of this chapter or any other law, the civil service
34   department or a municipal commission may establish a continuing eligible
35   list for any class of positions for which it finds [inadequate numbers
36   of well qualified persons available for recruitment] such lists appro-
37   priate.    The civil service department may only establish continuing
38   eligible lists for any class of positions filled through open compet-
39   itive examination. Names of eligibles shall be inserted in such list
40   from time to time as applicants are tested and found qualified in exam-
41   inations held at such intervals as may be prescribed by the civil
42   service department or municipal commission having jurisdiction. Such
43   successive examinations shall, so far as practicable, be constructed and
44   rated so as to be equivalent tests of the merit and fitness of candi-
45   dates. The name of any candidate who passes any such examination and who
46   is otherwise qualified shall be placed on the continuing eligible list
47   in the rank corresponding to his or her final rating on such examina-
48   tion. The period of eligibility of successful candidates for certif-
49   ication and appointment from such continuing eligible list, as a result
50   of any such examination, shall be fixed by the civil service department
51   or municipal commission but, except as a list may reach an announced
52   terminal date, such period shall not be less than one year; nor shall
53   such period of eligibility exceed four years. Subject to such conditions
54   and limitations as the civil service department or municipal commission
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1    may prescribe, a candidate may take more than one such examination;
2    provided, however, that no such candidate shall be certified simultane-
3    ously with more than one rank on the continuing eligible list. With
4    respect to any candidate who applies for and is granted additional cred-
5    it in any such examination as a disabled or non-disabled veteran, and
6    for the limited purpose of granting such additional credit, the eligible
7    list shall be deemed to be established on the date on which his or her
8    name is added thereto.
9      § 2. This act shall take effect immediately.

10                                    PART T

11     Section 1. Subdivision 1 of section 55-b of the civil service law, as
12   amended by chapter 603 of the laws of 1995, is amended to read as
13   follows:
14     1. The commission may determine up to [twelve] seventeen hundred posi-
15   tions with duties such as can be performed by persons with a physical or
16   mental disability who are found otherwise qualified to perform satisfac-
17   torily the duties of any such position. Upon such determination the said
18   positions shall be classified in the noncompetitive class, and may be
19   filled only by persons who shall have been certified by the employee
20   health service of the department as being a person with either a phys-
21   ical or mental disability. The number of persons appointed pursuant to
22   this section shall not exceed [twelve] seventeen hundred.
23     § 2. This act shall take effect immediately.

24                                    PART U

25                             Intentionally Omitted

26                                    PART V

27     Section 1. Section 2 of part HH of chapter 56 of the laws of 2022
28   amending the retirement and social security law relating to waiving
29   approval and income limitations on retirees employed in school districts
30   and board of cooperative educational services, is amended to read as
31   follows:
32     § 2. Notwithstanding any other provision of law to the contrary, none
33   of the provisions of this act shall be subject to section 25 of the
34   retirement and social security law.
35     § 3. This act shall take effect immediately and shall expire and be
36   deemed repealed June 30, [2023] 2024.
37     § 2. This act shall take effect immediately.
       FISCAL NOTE.--Pursuant to Legislative Law, Section 50:
       Insofar as this bill affects the New York State and Local Retirement
     System (NYSLRS), this bill would allow retirees employed by a New York
     State school district or by the board of cooperative educational
     services (BOCES) to collect a salary without suspension or diminution of
     their pension benefit through June 30, 2024. Currently, the post-retire-
     ment earnings limit is $35,000. Waivers to that post-retirement earnings
     limitation are only provided after the employer engages in a rigorous
     application process, including failed efforts to locate qualified non-
     retired individuals, requiring approval by the Commissioner of Educa-
     tion, and the retiree so hired did not work with the employer prior to
     retirement.
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  If this bill were enacted during the 2023 legislative session, the
direct cost incurred would be the retiree's post-retirement earnings for
the period July 1, 2023 through June 30, 2024, not to exceed the full
pension benefit paid by the NYSLRS during that period.
  The number of members and retirees who could be affected by this
legislation cannot be readily determined. For each retiree hired pursu-
ant to this proposal, an annual cost of $35,000 is expected. If large
numbers of retirees are hired into such positions, significant annual
costs would result.
  All costs will be shared by the State of New York and all participat-
ing employers in the NYSLRS and spread over future billing cycles. Since
this proposal exclusively benefits retirees, the increased costs are
primarily attributable to retirees from Tiers 1 - 4. Approximately half
the contributions required to fund this proposal will be collected on
salary reported for current members of Tier 6.
  Summary of relevant resources:
  Membership data as of March 31, 2022 was used in measuring the impact
of the proposed change, the same data used in the April 1, 2022 actuari-
al valuation. Distributions and other statistics can be found in the
2022 Report of the Actuary and the 2022 Annual Comprehensive Financial
Report.
  The actuarial assumptions and methods used are described in the 2020,
2021, and 2022 Annual Report to the Comptroller on Actuarial Assump-
tions, and the Codes, Rules and Regulations of the State of New York:
Audit and Control.
  The Market Assets and GASB Disclosures are found in the March 31, 2022
New York State and Local Retirement System Financial Statements and
Supplementary Information.
  I am a member of the American Academy of Actuaries and meet the Quali-
fication Standards to render the actuarial opinion contained herein.
  This fiscal note does not constitute a legal opinion on the viability
of the proposed change nor is it intended to serve as a substitute for
the professional judgment of an attorney.
  This estimate, dated March 30, 2023, and intended for use only during
the 2023 Legislative Session, is Fiscal Note No. 2023-128, prepared by
the Actuary for the New York State and Local Retirement System.
  FISCAL NOTE.--Pursuant to Legislative Law, Section 50:
  This bill would amend section 2 of Part HH of Chapter 56 of the Laws
of 2022 to extend the waiver of the earnings-after-retirement limit for
one year for retirees of the New York State Teachers' Retirement System
to June 30, 2024. The current expiration date is June 30, 2023 for the
waiver of this limit. This act shall take effect immediately and shall
be deemed repealed on June 30, 2024. Retirees must be employed with a
school district or a board of cooperative educational services (BOCES).
There is no earnings-after-retirement limit for retirees aged 65 and
older.
  It is estimated that there will be no additional annual cost to the
employers of members of the New York State Teachers' Retirement System
if this bill is enacted.
  Member data is from the System's most recent actuarial valuation
files, consisting of data provided by the employers to the Retirement
System. Data distributions and statistics can be found in the System's
Annual Report. System assets are as reported in the System's financial
statements and can also be found in the System's Annual Report. Actuari-
al assumptions and methods are provided in the System's Actuarial Valu-
ation Report.
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       The source of this estimate is Fiscal Note 2023-18 dated February 8,
     2023 prepared by the Office of the Actuary of the New York State Teach-
     ers' Retirement System and is intended for use only during the 2023
     Legislative Session. I, Richard A. Young, am the Chief Actuary for the
     New York State Teachers' Retirement System. I am a member of the Ameri-
     can Academy of Actuaries and I meet the Qualification Standards of the
     American Academy of Actuaries to render the actuarial opinion contained
     herein.

1                                     PART W

 2     Section 1. Paragraphs 2 and 3 of subdivision e of section 19-a of the
 3   retirement and social security law, as amended by chapter 48 of the laws
 4   of 2017, are amended to read as follows:
 5     (2) For any given fiscal year for which (i) the system actuarial
 6   contribution rate exceeds nine and one-half percent of payroll as of the
 7   end of the previous fiscal year, and (ii) an employer's average actuari-
 8   al contribution rate exceeds the [system] employer's graded contribution
 9   rate or the alternative [system] employer's graded contribution rate,
10   the balance in the employer's account within such fund shall be applied
11   to reduce the employer's payment to the retirement system for such
12   fiscal year in an amount not to exceed the difference between the
13   employer's actuarial contribution and the employer's graded contribution
14   for the fiscal year.
15     (3) Notwithstanding the provisions of paragraph two of this subdivi-
16   sion, if at the close of any given fiscal year the balance of an employ-
17   er's account within the fund exceeds [one hundred percent of] the
18   employer's [payroll] actuarial contribution for the previous fiscal
19   year, [the excess shall be applied to reduce the employer's payment to
20   the retirement system for the next succeeding fiscal year] no graded
21   payment shall be required or allowed.
22     § 2. Section 19-a of the retirement and social security law is amended
23   by adding a new subdivision f to read as follows:
24     f. (1) An amortizing employer may elect to terminate participation in
25   the contribution stabilization program provided that such employer shall
26   have paid in full all such prior year amortization amounts including
27   interest as determined by the comptroller. Furthermore, any amortizing
28   employer that has terminated participation in the contribution stabili-
29   zation program may re-enter the program in a year in which the employer
30   is eligible to amortize and their employer contribution reserve fund has
31   been depleted.
32     (2) An alternative amortizing employer may elect to terminate partic-
33   ipation in the alternative contribution stabilization program provided
34   that such employer shall have paid in full all such prior year amorti-
35   zation amounts including interest as determined by the comptroller.
36   Furthermore, any alternative amortizing employer that has terminated
37   participation in the alternative contribution stabilization program may
38   not re-enter the alternative contribution       stabilization   program;
39   provided, however, such employer may enter the regular contribution
40   stabilization program as set forth in paragraph one of this subdivision.
41     (3) In order to terminate participation in the contribution stabiliza-
42   tion or alternative contribution stabilization program, such employer
43   must file an election on a form prescribed by the comptroller. Such
44   election is subject to review and approval by the comptroller.
45     (4) Termination shall take effect for the fiscal year billing cycle
46   following the fiscal year of approval. An employer who has been approved
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 1   to terminate from the contribution stabilization or alternative contrib-
 2   ution stabilization program pursuant to this section shall not be
 3   required to make a graded payment starting in the following fiscal year
 4   billing cycle.
 5     (5) In the event an employer in the contribution stabilization program
 6   or alternative contribution stabilization program terminates partic-
 7   ipation pursuant to this section, any such balance in their employer
 8   contribution reserve fund shall be applied to the employer's annual bill
 9   in the maximum amount permitted under paragraph two of subdivision e of
10   this section, for the following fiscal year and continue to be applied
11   to future annual bills until the reserve fund is depleted.
12     § 3. Paragraphs 2 and 3 of subdivision e of section 319-a of the
13   retirement and social security law, as amended by chapter 48 of the laws
14   of 2017, are amended to read as follows:
15     (2) For any given fiscal year for which (i) the system actuarial
16   contribution rate exceeds seventeen and one-half percent of payroll as
17   of the end of the previous fiscal year, and (ii) for which an employer's
18   average actuarial contribution rate exceeds the employer's graded
19   contribution rate or the alternative [system] employer's graded contrib-
20   ution rate, the balance in the employer's account within such fund shall
21   be applied to reduce the employer's payment to the retirement system for
22   such fiscal year in an amount not to exceed the difference between the
23   employer's actuarial contribution and the employer's graded contribution
24   for the fiscal year.
25     (3) Notwithstanding the provisions of paragraph two of this subdivi-
26   sion, if at the close of any given fiscal year the balance of an employ-
27   er's account within the fund exceeds [one hundred percent of] the
28   employer's [payroll] actuarial contribution for the previous fiscal
29   year, [the excess shall be applied to reduce the employer's payment to
30   the retirement system for the next succeeding fiscal year] no graded
31   payment shall be required or allowed.
32     § 4. Section 319-a of the retirement and social security law is
33   amended by adding a new subdivision f to read as follows:
34     f. (1) An amortizing employer may elect to terminate participation in
35   the contribution stabilization program provided that such employer shall
36   have paid in full all such prior year amortization amounts including
37   interest as determined by the comptroller. Furthermore, any amortizing
38   employer that has terminated participation in the contribution stabili-
39   zation program may re-enter the program in a year in which the employer
40   is eligible to amortize and their employer contribution reserve fund has
41   been depleted.
42     (2) An alternative amortizing employer may elect to terminate partic-
43   ipation in the alternative contribution stabilization program provided
44   that such employer shall have paid in full all such prior year amorti-
45   zation amounts including interest as determined by the comptroller.
46   Furthermore, any alternative amortizing employer that has terminated
47   participation in the alternative contribution stabilization program may
48   not   re-enter   the alternative contribution stabilization program;
49   provided, however, such employer may enter the regular contribution
50   stabilization program as set forth in paragraph one of this subdivision.
51     (3) In order to terminate participation in the contribution stabiliza-
52   tion or alternative contribution stabilization program, such employer
53   must file an election on a form prescribed by the comptroller.      Such
54   election is subject to review and approval by the comptroller.
55     (4) Termination shall take effect for the fiscal year billing cycle
56   following the fiscal year of approval. An employer who has been approved
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 1   to terminate from the contribution stabilization or alternative contrib-
 2   ution stabilization program pursuant to this section shall not be
 3   required to make a graded payment starting in the following fiscal year
 4   billing cycle.
 5     (5) In the event an employer in the contribution stabilization program
 6   or alternative contribution stabilization program terminates partic-
 7   ipation pursuant to this section, any such balance in their employer
 8   contribution reserve fund shall be applied to the employer's annual bill
 9   in the maximum amount permitted under paragraph two of subdivision e of
10   this section, for the following fiscal year and continue to be applied
11   to future annual bills until the reserve fund is depleted.
12     § 5. This act shall take effect immediately, and shall be deemed to
13   have been in full force and effect on and after April 1, 2023.
       FISCAL NOTE.--Pursuant to Legislative Law, Section 50:
       This bill would revise the terms of participation in the New York
     State and Local Retirement Systems (NYSLRS) Contribution Stabilization
     Program (CSP). Participating employers in the NYSLRS may enter the CSP
     to reduce volatility in average annual contribution rates. Should
     employer billing rates increase rapidly, the CSP allows a portion of the
     increase to be amortized over 10 years for the regular CSP or 12 years
     for the alternative CSP. Should employer billing rates decrease rapid-
     ly, the CSP requires employers to make an additional contribution,
     called a graded payment. The graded payment is deposited into an inter-
     est-bearing reserve fund held within the NYSLRS for the exclusive use by
     the employer to reduce future amortizations.
       This bill revises the CSP in the following ways:
       1) Limits the value of the reserve fund assets. Graded payments would
     cease when the employer's reserve fund assets exceed the employer's
     actuarial contribution in the prior fiscal year. Currently, the reserve
     fund is capped at 100% of the employer's payroll.
       2) Creates provisions for termination from the CSP, subject to
     approval by the Comptroller, provided all prior year amortizations are
     paid in full, including interest. Beginning the fiscal year following
     termination, the employer would not be required (or allowed) to make a
     graded payment. Any existing reserve fund assets would be used to reduce
     future annual bills up to the amount the employer would have been able
     to amortize if still in the program. The employer would be permitted to
     re-enter the regular CSP only if eligible to amortize, provided all
     reserve fund assets are depleted.
       3) Allows an employer to utilize its reserve fund assets to pay a
     portion of its annual bill when the employer's average actuarial
     contribution rate exceeds the employer's graded rate. Currently, the
     employer's average actuarial rate must exceed the System graded rate.
       If this bill is enacted during the 2023 legislative session, we antic-
     ipate some administrative costs to implement the provisions of this
     legislation.
       Summary of relevant resources:
       Membership data as of March 31, 2022 was used in measuring the impact
     of the proposed change, the same data used in the April 1, 2022 actuari-
     al valuation. Distributions and other statistics can be found in the
     2022 Report of the Actuary and the 2022 Annual Comprehensive Financial
     Report.
       The actuarial assumptions and methods used are described in the 2020,
     2021, and 2022 Annual Report to the Comptroller on Actuarial Assump-
     tions, and the Codes, Rules and Regulations of the State of New York:
     Audit and Control.
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       The Market Assets and GASB Disclosures are found in the March 31, 2022
     New York State and Local Retirement System Financial Statements and
     Supplementary Information.
       I am a member of the American Academy of Actuaries and meet the Quali-
     fication Standards to render the actuarial opinion contained herein.
       This fiscal note does not constitute a legal opinion on the viability
     of the proposed change nor is it intended to serve as a substitute for
     the professional judgment of an attorney.
       This estimate, dated January 26, 2023, and intended for use only
     during the 2023 Legislative Session, is Fiscal Note No. 2023-57,
     prepared by the Actuary for the New York State and Local Retirement
     System.

1                                     PART X

2                              Intentionally Omitted

3                                     PART Y

 4     Section 1. The opening paragraph and paragraph 1 of subdivision b and
 5   subdivision e of section 208-f of the general municipal law, paragraph 1
 6   of subdivision b and subdivision e as added by chapter 472 of the laws
 7   of 1978 and the opening paragraph of subdivision b as amended by chapter
 8   782 of the laws of 2022, are amended and a new subdivision k is added to
 9   read as follows:
10     The special accidental death benefit shall be paid by the county,
11   city, town or village which employed the deceased member at the time of
12   death, and shall consist of a pension which is equal to the salary of
13   the deceased member, reduced by the sum of each of the following bene-
14   fits received by the widow or widower or the deceased member's children
15   under the age of eighteen, if the widow or widower has died, or to the
16   deceased member's parents if the member has no widow, widower, children
17   under the age of eighteen, or a student under the age of twenty-three,
18   on account of the death of the deceased member:
19     1. Any death benefit and any supplementation thereto paid by the said
20   county, city, town or village in the form of a pension, and
21     e. There shall be appropriated to the [local assistance fund in the]
22   general fund [to the department of audit and control] an amount equal to
23   the special accidental death benefits paid pursuant to subdivisions b
24   and c of this section during each preceding state fiscal year, as certi-
25   fied to the comptroller by the appropriate municipal official, for the
26   purposes of reimbursing such special accidental death benefits.
27     The monies appropriated [to the department of audit and control] and
28   made available pursuant to this subdivision shall be paid under rules
29   and regulations adopted by the comptroller and subject to the approval
30   of the director of the budget upon the audit and warrant of the comp-
31   troller on vouchers certified or approved as provided by law.
32     k. In the case of a deceased county member who died prior to the
33   effective date of this subdivision, the payment of the benefit to the
34   deceased member's beneficiaries pursuant to subdivision f of this
35   section, shall commence on the effective date of this subdivision,
36   provided, however that the benefit amount shall be deemed to have been
37   subject to annual increases pursuant to subdivision b of this section
38   and escalation pursuant to subdivision c of this section, from the date
39   of such member's death.
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1      § 2. This act shall take effect immediately, and shall be deemed to
2    have been in full force and effect on and after April 1, 2023.

3                                     PART Z

 4     Section 1. Paragraph (a) of subdivision 4 of section 94 of the execu-
 5   tive law, as added by section 2 of part QQ of chapter 56 of the laws of
 6   2022, is amended to read as follows:
 7     (a) The first class of members of the commission shall serve stag-
 8   gered terms to ensure continuity. For the first class of the commis-
 9   sion, [five members shall serve a term of four years, three members
10   shall serve a term of two years, and one member shall serve a term of
11   one year. All subsequent members shall serve a term of four years] the
12   governor's first appointee shall serve an initial term of four years,
13   their second appointee shall serve an initial term of two years, and
14   their third appointee shall serve an initial term of one year; the
15   attorney general's appointee shall serve an initial term of four years;
16   the comptroller's appointee shall serve an initial term of four years;
17   the temporary president of the senate's first appointee shall serve an
18   initial term of four years and their second appointee shall serve a term
19   of two years; the minority leader of the senate's appointee shall serve
20   an initial term of four years; the speaker of the assembly's first
21   appointee shall serve initial terms of four years and their second
22   appointee shall serve a term of two years; and the minority leader of
23   the assembly's appointee shall serve a term of four years. All subse-
24   quent members shall serve a term of four years. No member      shall be
25   selected   to the commission for more than two full consecutive terms,
26   except that a member who has held the position by filling a      vacancy
27   can only be selected to the commission for an additional two full
28   consecutive terms.
29     § 2. This act shall take effect immediately.

30                                    PART AA

31     Section 1. Subparagraph (A) of paragraph 7 of subdivision (ee) of
32   section 1115 of the tax law, as amended by section 1 of item A of
33   subpart H of part XXX of chapter 58 of the laws of 2020, is amended to
34   read as follows:
35     (A) "Tenant" means a person who, as lessee, enters into a space lease
36   with a landlord for a term of ten years or more commencing on or after
37   September first, two thousand five, but not later than, in the case of a
38   space lease with respect to leased premises located in eligible areas as
39   defined in clause (i) of subparagraph (D) of this paragraph, September
40   first, two thousand [twenty-three] twenty-seven and, in the case of a
41   space lease with respect to leased premises located in eligible areas as
42   defined in clause (ii) of subparagraph (D) of this paragraph not later
43   than September first, two thousand [twenty-five] twenty-nine, of prem-
44   ises for use as commercial office space in buildings located or to be
45   located in the eligible areas. A person who currently occupies premises
46   for use as commercial office space under an existing lease in a building
47   in the eligible areas shall not be eligible for exemption under this
48   subdivision unless such existing lease, in the case of a space lease
49   with respect to leased premises located in eligible areas as defined in
50   clause (i) of subparagraph (D) of this paragraph expires according to
51   its terms before September first, two thousand [twenty-three] twenty-
52   seven or such existing lease, in the case of a space lease with respect
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 1   to leased premises located in eligible areas as defined in clause (ii)
 2   of subparagraph (D) of this paragraph and such person enters into a
 3   space lease, for a term of ten years or more commencing on or after
 4   September first, two thousand five, of premises for use as commercial
 5   office space in a building located or to be located in the eligible
 6   areas, provided that such space lease with respect to leased premises
 7   located in eligible areas as defined in clause (i) of subparagraph (D)
 8   of this paragraph commences no later than September first, two thousand
 9   [twenty-three] twenty-seven, and provided that such space lease with
10   respect to leased premises located in eligible areas as defined in
11   clause (ii) of subparagraph (D) of this paragraph commences no later
12   than   September first, two thousand [twenty-five] twenty-nine and
13   provided, further, that such space lease shall expire no earlier than
14   ten years after the expiration of the original lease.
15     § 2. Section 2 of part C of chapter 2 of the laws of 2005 amending the
16   tax law relating to exemptions from sales and use taxes, as amended by
17   section 2 of item A of subpart H of part XXX of chapter 58 of the laws
18   of 2020, is amended to read as follows:
19     § 2. This act shall take effect September 1, 2005 and shall expire and
20   be deemed repealed on December 1, [2026] 2030, and shall apply to sales
21   made, uses occurring and services rendered on or after such effective
22   date, in accordance with the applicable transitional provisions of
23   sections 1106 and 1217 of the tax law; except that clause (i) of subpar-
24   agraph (D) of paragraph seven of subdivision (ee) of section 1115 of the
25   tax law, as added by section one of this act, shall expire and be deemed
26   repealed December 1, [2024] 2028.
27     § 3. Paragraph 1 of subdivision (b) of section 25-s of the general
28   city law, as amended by section 3 of item A of subpart H of part XXX of
29   chapter 58 of the laws of 2020, is amended to read as follows:
30     (1) non-residential premises that are wholly contained in property
31   that is eligible to obtain benefits under title two-D or two-F of arti-
32   cle four of the real property tax law, or would be eligible to receive
33   benefits under such article except that such property is exempt from
34   real property taxation and the requirements of paragraph (b) of subdivi-
35   sion seven of section four hundred eighty-nine-dddd of such title two-D,
36   or the requirements of subparagraph (ii) of paragraph (b) of subdivision
37   five of section four hundred eighty-nine-cccccc of such title two-F,
38   whichever is applicable, have not been satisfied, provided that applica-
39   tion for such benefits was made after May third, nineteen hundred eight-
40   y-five   and   prior   to   July   first, two thousand [twenty-three]
41   twenty-seven, that construction or renovation of such premises was
42   described in such application, that such premises have been substantial-
43   ly improved by such construction or renovation so described, that the
44   minimum required expenditure as defined in such title two-D or two-F,
45   whichever is applicable, has been made, and that such real property is
46   located in an eligible area; or
47     § 4. Paragraph 3 of subdivision (b) of section 25-s of the general
48   city law, as amended by section 4 of item A of subpart H of part XXX of
49   chapter 58 of the laws of 2020, is amended to read as follows:
50     (3) non-residential premises that are wholly contained in real proper-
51   ty that has obtained approval after October thirty-first, two thousand
52   and prior to July first, two thousand [twenty-three] twenty-seven for
53   financing by an industrial development agency established pursuant to
54   article eighteen-A of the general municipal law, provided that such
55   financing has been used in whole or in part to substantially improve
56   such premises (by construction or renovation), and that expenditures
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 1   have been made for improvements to such real property in excess of ten
 2   per centum of the value at which such real property was assessed for tax
 3   purposes for the tax year in which such improvements commenced, that
 4   such expenditures have been made within thirty-six months after the
 5   earlier of (i) the issuance by such agency of bonds for such financing,
 6   or (ii) the conveyance of title to such property to such agency, and
 7   that such real property is located in an eligible area; or
 8     § 5. Paragraph 5 of subdivision (b) of section 25-s of the general
 9   city law, as amended by section 5 of item A of subpart H of part XXX of
10   chapter 58 of the laws of 2020, is amended to read as follows:
11     (5) non-residential premises that are wholly contained in real proper-
12   ty owned by such city or the New York state urban development corpo-
13   ration, or a subsidiary thereof, a lease for which was approved in
14   accordance with the applicable provisions of the charter of such city or
15   by the board of directors of such corporation, and such approval was
16   obtained after October thirty-first, two thousand and prior to July
17   first, two thousand [twenty-three] twenty-seven, provided, however, that
18   such premises were constructed or renovated subsequent to such approval,
19   that expenditures have been made subsequent to such approval for
20   improvements to such real property (by construction or renovation) in
21   excess of ten per centum of the value at which such real property was
22   assessed for tax purposes for the tax year in which such improvements
23   commenced, that such expenditures have been made within thirty-six
24   months after the effective date of such lease, and that such real prop-
25   erty is located in an eligible area; or
26     § 6. Paragraph 2 of subdivision (c) of section 25-t of the general
27   city law, as amended by section 6 of item A of subpart H of part XXX of
28   chapter 58 of the laws of 2020, is amended to read as follows:
29     (2) No eligible energy user, qualified eligible energy user, on-site
30   cogenerator, or clean on-site cogenerator shall receive a rebate pursu-
31   ant to this article until it has obtained a certification from the
32   appropriate city agency in accordance with a local law enacted pursuant
33   to this section. No such certification for a qualified eligible energy
34   user shall be issued on or after November first, two thousand. No such
35   certification of any other eligible energy user, on-site cogenerator, or
36   clean on-site cogenerator shall be issued on or after July first, two
37   thousand [twenty-three] twenty-seven.
38     § 7. Paragraph 1 of subdivision (a) of section 25-aa of the general
39   city law, as amended by section 7 of item A of subpart H of part XXX of
40   chapter 58 of the laws of 2020, is amended to read as follows:
41     (1) is eligible to obtain benefits under title two-D or two-F of arti-
42   cle four of the real property tax law, or would be eligible to receive
43   benefits under such title except that such property is exempt from real
44   property taxation and the requirements of paragraph (b) of subdivision
45   seven of section four hundred eighty-nine-dddd of such title two-D, or
46   the requirements of subparagraph (ii) of paragraph (b) of subdivision
47   five of section four hundred eighty-nine-cccccc of such title two-F,
48   whichever is applicable, of the real property tax law have not been
49   satisfied, provided that application for such benefits was made after
50   the thirtieth day of June, nineteen hundred ninety-five and before the
51   first day of July, two thousand [twenty-three] twenty-seven, that
52   construction or renovation of such building or structure was described
53   in such application, that such building or structure has been substan-
54   tially improved by such construction or renovation, and (i) that the
55   minimum required expenditure as defined in such title has been made, or
56   (ii) where there is no applicable minimum required expenditure, the
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 1   building was constructed within such period or periods of time estab-
 2   lished by title two-D or two-F, whichever is applicable, of article four
 3   of the real property tax law for construction of a new building or
 4   structure; or
 5     § 8. Paragraphs 2 and 3 of subdivision (a) of section 25-aa of the
 6   general city law, as amended by section 8 of item A of subpart H of part
 7   XXX of chapter 58 of the laws of 2020, are amended to read as follows:
 8     (2) has obtained approval after the thirtieth day of June, nineteen
 9   hundred ninety-five and before the first day of July, two thousand
10   [twenty-three] twenty-seven, for financing by an industrial development
11   agency established pursuant to article eighteen-A of the general munici-
12   pal law, provided that such financing has been used in whole or in part
13   to substantially improve such building or structure by construction or
14   renovation, that expenditures have been made for improvements to such
15   real property in excess of twenty per centum of the value at which such
16   real property was assessed for tax purposes for the tax year in which
17   such improvements commenced, and that such expenditures have been made
18   within thirty-six months after the earlier of (i) the issuance by such
19   agency of bonds for such financing, or (ii) the conveyance of title to
20   such building or structure to such agency; or
21     (3) is owned by the city of New York or the New York state urban
22   development corporation, or a subsidiary corporation thereof, a lease
23   for which was approved in accordance with the applicable provisions of
24   the charter of such city or by the board of directors of such corpo-
25   ration, as the case may be, and such approval was obtained after the
26   thirtieth day of June, nineteen hundred ninety-five and before the first
27   day of July, two thousand [twenty-three] twenty-seven, provided that
28   expenditures have been made for improvements to such real property in
29   excess of twenty per centum of the value at which such real property was
30   assessed for tax purposes for the tax year in which such improvements
31   commenced, and that such expenditures have been made within thirty-six
32   months after the effective date of such lease; or
33     § 9. Subdivision (f) of section 25-bb of the general city law, as
34   amended by section 9 of item A of subpart H of part XXX of chapter 58 of
35   the laws of 2020, is amended to read as follows:
36     (f) Application and certification. An owner or lessee of a building or
37   structure located in an eligible revitalization area, or an agent of
38   such owner or lessee, may apply to such department of small business
39   services for certification that such building or structure is an eligi-
40   ble building or targeted eligible building meeting the criteria of
41   subdivision (a) or (q) of section twenty-five-aa of this article.
42   Application for such certification must be filed after the thirtieth day
43   of June, nineteen hundred ninety-five and before a building permit is
44   issued for the construction or renovation required by such subdivisions
45   and before the first day of July, two thousand [twenty-three] twenty-
46   seven, provided that no certification for a targeted eligible building
47   shall be issued after October thirty-first, two thousand. Such applica-
48   tion shall identify expenditures to be made that will affect eligibility
49   under such subdivision (a) or (q). Upon completion of such expenditures,
50   an applicant shall supplement such application to provide information
51   (i) establishing that the criteria of such subdivision (a) or (q) have
52   been met; (ii) establishing a basis for determining the amount of
53   special rebates, including a basis for an allocation of the special
54   rebate among eligible revitalization area energy users purchasing or
55   otherwise receiving energy services from an eligible redistributor of
56   energy or a qualified eligible redistributor of energy; and (iii)
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 1   supporting an allocation of charges for energy services between eligible
 2   charges and other charges. Such department shall certify a building or
 3   structure as an eligible building or targeted eligible building after
 4   receipt and review of such information and upon a determination that
 5   such information establishes that the building or structure qualifies as
 6   an eligible building or targeted eligible building. Such department
 7   shall mail such certification or notice thereof to the applicant upon
 8   issuance. Such certification shall remain in effect provided the eligi-
 9   ble redistributor of energy or qualified eligible redistributor of ener-
10   gy reports any changes that materially affect the amount of the special
11   rebates to which it is entitled or the amount of reduction required by
12   subdivision (c) of this section in an energy services bill of an eligi-
13   ble revitalization area energy user and otherwise complies with the
14   requirements of this article. Such department shall notify the private
15   utility or public utility service required to make a special rebate to
16   such redistributor of the amount of such special rebate established at
17   the time of certification and any changes in such amount and any suspen-
18   sion or termination by such department of certification under this
19   subdivision. Such department may require some or all of the information
20   required as part of an application or other report be provided by a
21   licensed engineer.
22     § 10. Paragraph 1 of subdivision (i) of section 22-601 of the adminis-
23   trative code of the city of New York, as amended by section 10 of item A
24   of subpart H of part XXX of chapter 58 of the laws of 2020, is amended
25   to read as follows:
26     (1) Non-residential premises that are wholly contained in property
27   that is eligible to obtain benefits under part four or part five of
28   subchapter two of chapter two of title eleven of this code, or would be
29   eligible to receive benefits under such chapter except that such proper-
30   ty is exempt from real property taxation and the requirements of para-
31   graph two of subdivision g of section 11-259 of this code, or the
32   requirements of subparagraph (b) of paragraph two of subdivision e of
33   section 11-270 of this code, whichever is applicable, have not been
34   satisfied, provided that application for such benefits was made after
35   May third, nineteen hundred eighty-five and prior to July first, two
36   thousand [twenty-three] twenty-seven, that construction or renovation of
37   such premises was described in such application, that such premises have
38   been substantially improved by such construction or renovation so
39   described, that the minimum required expenditure as defined in such part
40   four or part five, whichever is applicable, has been made, and that such
41   real property is located in an eligible area; or
42     § 11. Paragraph 3 of subdivision (i) of section 22-601 of the adminis-
43   trative code of the city of New York, as amended by section 11 of item A
44   of subpart H of part XXX of chapter 58 of the laws of 2020, is amended
45   to read as follows:
46     (3) non-residential premises that are wholly contained in real proper-
47   ty that has obtained approval after October thirty-first, two thousand
48   and prior to July first, two thousand [twenty-three] twenty-seven for
49   financing by an industrial development agency established pursuant to
50   article eighteen-A of the general municipal law, provided that such
51   financing has been used in whole or in part to substantially improve
52   such premises (by construction or renovation), and that expenditures
53   have been made for improvements to such real property in excess of ten
54   per centum of the value at which such real property was assessed for tax
55   purposes for the tax year in which such improvements commenced, that
56   such expenditures have been made within thirty-six months after the
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 1   earlier of (i) the issuance by such agency of bonds for such financing,
 2   or (ii) the conveyance of title to such property to such agency, and
 3   that such real property is located in an eligible area; or
 4     § 12. Paragraph 5 of subdivision (i) of section 22-601 of the adminis-
 5   trative code of the city of New York, as amended by section 12 of item A
 6   of subpart H of part XXX of chapter 58 of the laws of 2020, is amended
 7   to read as follows:
 8     (5) non-residential premises that are wholly contained in real proper-
 9   ty owned by such city or the New York state urban development corpo-
10   ration, or a subsidiary thereof, a lease for which was approved in
11   accordance with the applicable provisions of the charter of such city or
12   by the board of directors of such corporation, and such approval was
13   obtained after October thirty-first, two thousand and prior to July
14   first, two thousand [twenty-three] twenty-seven, provided, however, that
15   such premises were constructed or renovated subsequent to such approval,
16   that expenditures have been made subsequent to such approval for
17   improvements to such real property (by construction or renovation) in
18   excess of ten per centum of the value at which such real property was
19   assessed for tax purposes for the tax year in which such improvements
20   commenced, that such expenditures have been made within thirty-six
21   months after the effective date of such lease, and that such real prop-
22   erty is located in an eligible area; or
23     § 13. Paragraph 1 of subdivision (c) of section 22-602 of the adminis-
24   trative code of the city of New York, as amended by section 13 of item A
25   of subpart H of part XXX of chapter 58 of the laws of 2020, is amended
26   to read as follows:
27     (1) No eligible energy user, qualified eligible energy user, on-site
28   cogenerator, clean on-site cogenerator or special eligible energy user
29   shall receive a rebate pursuant to this chapter until it has obtained a
30   certification as an eligible energy user, qualified eligible energy
31   user, on-site cogenerator, clean on-site cogenerator or special eligible
32   energy user, respectively, from the commissioner of small business
33   services. No such certification for a qualified eligible energy user
34   shall be issued on or after July first, two thousand three. No such
35   certification of any other eligible energy user, on-site cogenerator or
36   clean on-site cogenerator shall be issued on or after July first, two
37   thousand [twenty-three] twenty-seven. The commissioner of small busi-
38   ness services, after notice and hearing, may revoke a certification
39   issued pursuant to this subdivision where it is found that eligibility
40   criteria have not been met or that compliance with conditions for
41   continued eligibility has not been maintained. The corporation counsel
42   may maintain a civil action to recover an amount equal to any benefits
43   improperly obtained.
44     § 14. Subparagraph (b-2) of paragraph 2 of subdivision i of section
45   11-704 of the administrative code of the city of New York, as amended by
46   section 14 of item A of subpart H of part XXX of chapter 58 of the laws
47   of 2020, is amended to read as follows:
48     (b-2) The amount of the special reduction allowed by this subdivision
49   with respect to a lease other than a sublease commencing between July
50   first, two thousand five and June thirtieth, two thousand [twenty-three]
51   twenty-seven with an initial or renewal lease term of at least five
52   years shall be determined as follows:
53     (i) For the base year the amount of such special reduction shall be
54   equal to the base rent for the base year.
55     (ii) For the first, second, third and fourth twelve-month periods
56   following the base year the amount of such special reduction shall be
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 1   equal to the lesser of (A) the base rent for each such twelve-month
 2   period or (B) the base rent for the base year.
 3     § 15. Subdivision 9 of section 499-aa of the real property tax law, as
 4   amended by section 15 of item A of subpart H of part XXX of chapter 58
 5   of the laws of 2020, is amended to read as follows:
 6     9. "Eligibility period." The period commencing April first, nineteen
 7   hundred ninety-five and terminating March thirty-first, two thousand
 8   one, provided, however, that with respect to eligible premises defined
 9   in subparagraph (i) of paragraph (b) of subdivision ten of this section,
10   the period commencing July first, two thousand and terminating June
11   thirtieth, two thousand [twenty-four] twenty-eight, and        provided,
12   further, however, that with respect to eligible premises defined in
13   subparagraph (ii) of paragraph (b) or paragraph (c) of subdivision ten
14   of this section, the period commencing July first, two thousand five and
15   terminating June thirtieth, two thousand [twenty-four] twenty-eight.
16     § 16. Subparagraph (iii) of paragraph (a) of subdivision 3 of section
17   499-cc of the real property tax law, as amended by section 16 of item A
18   of subpart H of part XXX of chapter 58 of the laws of 2020, is amended
19   to read as follows:
20     (iii) With respect to the eligible premises defined in subparagraph
21   (ii) of paragraph (b) or paragraph (c) of subdivision ten of section
22   four hundred ninety-nine-aa of this title and for purposes of determin-
23   ing whether the amount of expenditures required by subdivision one of
24   this section have been satisfied, expenditures on improvements to the
25   common areas of an eligible building shall be included only if work on
26   such improvements commenced and the expenditures are made on or after
27   July first, two thousand five and on or before December thirty-first,
28   two thousand [twenty-four] twenty-eight; provided, however, that expend-
29   itures on improvements to the common areas of an eligible building made
30   prior to three years before the lease commencement date shall not be
31   included.
32     § 17. Subdivisions 5 and 9 of section 499-a of the real property tax
33   law, as amended by section 17 of item A of subpart H of part XXX of
34   chapter 58 of the laws of 2020, are amended to read as follows:
35     5. "Benefit period." The period commencing with the first day of the
36   month immediately following the rent commencement date and terminating
37   no later than sixty months thereafter, provided, however, that with
38   respect to a lease commencing on or after April first, nineteen hundred
39   ninety-seven with an initial lease term of less than five years, but not
40   less than three years, the period commencing with the first day of the
41   month immediately following the rent commencement date and terminating
42   no later than thirty-six months thereafter. Notwithstanding the forego-
43   ing sentence, a benefit period shall expire no later than March thirty-
44   first, two thousand [thirty] thirty-four.
45     9. "Eligibility period." The period commencing April first, nineteen
46   hundred ninety-five and terminating March thirty-first, two thousand
47   [twenty-four] twenty-eight.
48     § 18. Paragraph (a) of subdivision 3 of section 499-c of the real
49   property tax law, as amended by section 18 of item A of subpart H of
50   part XXX of chapter 58 of the laws of 2020, is amended to read as
51   follows:
52     (a) For purposes of determining whether the amount of expenditures
53   required by subdivision one of this section have been satisfied, expend-
54   itures on improvements to the common areas of an eligible building shall
55   be included only if work on such improvements commenced and the expendi-
56   tures are made on or after April first, nineteen hundred ninety-five and
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 1   on or before September thirtieth, two thousand [twenty-four] twenty-
 2   eight; provided, however, that expenditures on improvements to the
 3   common areas of an eligible building made prior to three years before
 4   the lease commencement date shall not be included.
 5     § 19. Subdivision 8 of section 499-d of the real property tax law, as
 6   amended by section 19 of item A of subpart H of part XXX of chapter 58
 7   of the laws of 2020, is amended to read as follows:
 8     8. Leases commencing on or after April first, nineteen hundred nine-
 9   ty-seven shall be subject to the provisions of this title as amended by
10   chapter six hundred twenty-nine of the laws of nineteen hundred ninety-
11   seven, chapter one hundred eighteen of the laws of two thousand one,
12   chapter four hundred forty of the laws of two thousand three, chapter
13   sixty of the laws of two thousand seven, chapter twenty-two of the laws
14   of two thousand ten, chapter fifty-nine of the laws of two thousand
15   fourteen, chapter twenty of the laws of two thousand fifteen, chapter
16   sixty-one of the laws of two thousand seventeen [and the], chapter
17   fifty-eight of the laws of two thousand twenty, and the chapter of the
18   laws of two thousand twenty-three that amended this phrase. Notwith-
19   standing any other provision of law to the contrary, with respect to
20   leases commencing on or after April first, nineteen hundred ninety-sev-
21   en, an application for a certificate of abatement shall be considered
22   timely filed if filed within one hundred eighty days following the lease
23   commencement date or within sixty days following the date chapter six
24   hundred twenty-nine of the laws of nineteen hundred ninety-seven became
25   a law, whichever is later.
26     § 20. Subparagraph (a) of paragraph 2 of subdivision i of section
27   11-704 of the administrative code of the city of New York, as amended by
28   section 20 of item A of subpart H of part XXX of chapter 58 of the laws
29   of 2020, is amended to read as follows:
30     (a) An eligible tenant of eligible taxable premises shall be allowed a
31   special reduction in determining the taxable base rent for such eligible
32   taxable premises. Such special reduction shall be allowed with respect
33   to the rent for such eligible taxable premises for a period not exceed-
34   ing sixty months or, with respect to a lease commencing on or after
35   April first, nineteen hundred ninety-seven with an initial lease term of
36   less than five years, but not less than three years, for a period not
37   exceeding thirty-six months, commencing on the rent commencement date
38   applicable to such eligible taxable premises, provided, however, that in
39   no event shall any special reduction be allowed for any period beginning
40   after March thirty-first, two thousand [thirty] thirty-four.         For
41   purposes of applying such special reduction, the base rent for the base
42   year shall, where necessary to determine the amount of the special
43   reduction allowable with respect to any number of months falling within
44   a tax period, be prorated by dividing the base rent for the base year by
45   twelve and multiplying the result by such number of months.
46     § 21. This act shall take effect immediately; provided, however, that
47   if this act shall become a law after June 30, 2023, this act shall be
48   deemed to have been in full force and effect on and after June 30, 2023;
49   provided further, however, that the amendments to subparagraph (A) of
50   paragraph 7 of subdivision (ee) of section 1115 of the tax law made by
51   section one of this act shall not affect the repeal of such subdivision
52   and shall be repealed therewith.

53                                    PART BB
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1      Section 1. Subdivision 12 of section 239-bb of the general municipal
2    law is REPEALED.
3      § 2. This act shall take effect immediately.

4                                     PART CC

5                              Intentionally Omitted

6                                     PART DD

 7     Section 1. Section 13 of chapter 141 of the laws of 1994, amending the
 8   legislative law and the state finance law relating to the operation and
 9   administration of the legislature, as amended by section 1 of part II of
10   chapter 55 of the laws of 2022, is amended to read as follows:
11     § 13. This act shall take effect immediately and shall be deemed to
12   have been in full force and effect as of April 1, 1994, provided that,
13   the provisions of section 5-a of the legislative law as amended by
14   sections two and two-a of this act shall take effect on January 1, 1995,
15   and provided further that, the provisions of article 5-A of the legisla-
16   tive law as added by section eight of this act shall expire June 30,
17   [2023] 2024 when upon such date the provisions of such article shall be
18   deemed repealed; and provided further that section twelve of this act
19   shall be deemed to have been in full force and effect on and after April
20   10, 1994.
21     § 2. This act shall not supersede the findings and determinations made
22   by the compensation committee as authorized pursuant to part HHH of
23   chapter 59 of the laws of 2018 unless a court of competent jurisdiction
24   determines that such findings and determinations are invalid or other-
25   wise not applicable or in force.
26     § 3. This act shall take effect immediately, provided, however, if
27   this act shall take effect on or after June 30, 2023, this act shall be
28   deemed to have been in full force and effect on and after June 30, 2023.

29                                    PART EE

30     Section 1. Paragraph (b) of subdivision 5 of section 50 of the civil
31   service law, as amended by section 35 of part PP of chapter 56 of the
32   laws of 2022, is amended to read as follows:
33     (b) Notwithstanding the provisions of paragraph (a) of this subdivi-
34   sion, the state civil service department, subject to the approval of the
35   director of the budget, a municipal commission, subject to the approval
36   of the governing board or body of the city or county, as the case may
37   be, or a regional commission or personnel officer, pursuant to govern-
38   mental agreement, may elect to waive application fees, or to abolish
39   fees for specific classes of positions or types of examinations or
40   candidates, or to establish a uniform schedule of reasonable fees
41   different from those prescribed in paragraph (a) of this subdivision,
42   specifying in such schedule the classes of positions or types of exam-
43   inations or candidates to which such fees shall apply; provided, howev-
44   er, that fees shall be waived for candidates who certify to the state
45   civil service department, a municipal commission or a regional commis-
46   sion that they are unemployed and primarily responsible for the support
47   of a household, or are receiving public assistance. Provided further,
48   the state civil service department shall waive the state application fee
49   for examinations for original appointment for all veterans. Provided
50   further, the state civil service department shall, and a municipal
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 1   commission may, subject to the approval of the governing board or body
 2   of the city or county, as the case may be, or a regional commission or
 3   personnel officer, pursuant to governmental agreement, waive application
 4   fees for all examinations held between July first, two thousand twenty-
 5   three and December thirty-first, two thousand twenty-five. Notwithstand-
 6   ing any other provision of law, for purposes of this section, the term
 7   "veteran" shall mean a person who has served in the armed forces of the
 8   United States or the reserves thereof, or in the army national guard,
 9   air national guard, New York guard, or the New York naval militia, and
10   who (1) has been honorably discharged or released from such service
11   under honorable conditions, or (2) has a qualifying condition, as
12   defined in section one of the veterans' services law, and has received a
13   discharge other than bad conduct or dishonorable from such service, or
14   (3) is a discharged LGBT veteran, as defined in section one of the
15   veterans' services law, and has received a discharge other than bad
16   conduct or dishonorable from such service. The term "armed forces" shall
17   mean the army, navy, air force, marine corps, and coast guard.
18     § 2. This act shall take effect immediately and shall expire and be
19   deemed repealed on December 31, 2025; provided that this act shall be
20   deemed to have been in full force and effect on and after April 1, 2023.

21                                    PART FF

22     Section 1. Subdivision 2 of section 99-l of the general municipal law,
23   as amended by chapter 388 of the laws of 2012, is amended to read as
24   follows:
25     2. The [counties] county of Nassau [and Suffolk] shall be entitled to
26   receive the amounts set forth in subdivision one of this section for the
27   services of [their respective] Nassau county traffic and parking
28   violations agency.
29     § 2. Section 99-l of the general municipal law is amended by adding a
30   new subdivision 3 to read as follows:
31     3. The county of Suffolk shall be entitled to receive the amounts set
32   forth in subdivision one of this section for the services of the Suffolk
33   county traffic and parking violations agency.
34     § 3. This act shall take effect immediately; provided, however, that
35   the amendments to subdivision 2 of section 99-l of the general municipal
36   law made by section one of this act shall take effect on the same date
37   as the reversion of subdivision 2 of section 99-l of the general munici-
38   pal law as provided in section 6 of chapter 179 of the laws of 2000, as
39   amended.

40                                    PART GG

41     Section 1. Section 89-e of the retirement and social security law is
42   amended by adding a new subdivision k to read as follows:
43     k. Notwithstanding any provision of law to the contrary, where a
44   correction officer would have been entitled to retire pursuant to this
45   section at the time of his or her death and where his or her death
46   occurs on or after the effective date of the chapter of the laws of two
47   thousand twenty-three that added this subdivision, the beneficiary or
48   beneficiaries may elect to receive, in a lump sum, an amount payable
49   which shall be equal to the pension reserve that would have been estab-
50   lished had the member retired on the date of his or her death, or the
51   value of the death benefit and the reserve-for-increased-take-home-pay,
52   if any, whichever is greater.
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 1     § 2. The retirement and social security law is amended by adding a new
 2   section 606-c to read as follows:
 3     § 606-c. Death benefits for correction officers employed by Westches-
 4   ter county. a. As used in this section, the term "correction officer"
 5   shall mean a person employed by the Westchester county correction
 6   department with a title of correction officer, correction officer-ser-
 7   geant, correction officer-captain, assistant warden, associate warden or
 8   warden.
 9     b. Notwithstanding any provision of law to the contrary, where a
10   correction officer would have been entitled to a service retirement
11   benefit at the time of his or her death and where his or her death
12   occurs on or after the effective date of the chapter of the laws of two
13   thousand twenty-three that added this section, the beneficiary or bene-
14   ficiaries may elect to receive, in a lump sum, an amount payable which
15   shall be equal to the pension reserve that would have been established
16   had the member retired on the date of his or her death, or the value of
17   the death benefit and the reserve-for-increased-take-home-pay, if any,
18   whichever is greater.
19     § 3. All past service costs associated with implementing           the
20   provisions of this act shall be borne by the county of Westchester and
21   may be amortized over a period of ten years.
22     § 4. Notwithstanding any other provision of law to the contrary, none
23   of the provisions of this act shall be subject to the appropriation
24   requirement of section 25 of the retirement and social security law.
25     § 5. This act shall take effect immediately.
       FISCAL NOTE.--Pursuant to Legislative Law, Section 50:
       This bill would modify the in-service death benefit for Westchester
     County correction officers in Tiers 2 through 6. The in-service death
     benefit will be the value of the pension reserve as if the member had
     retired on their date of death.
       If this bill is enacted during the 2023 legislative session, we antic-
     ipate that there will be an increase of approximately $110,000 in the
     annual contributions of Westchester County for the fiscal year ending
     March 31, 2024. In future years, this cost will vary as the billing
     rates and salary of the affected members change.
       In addition to the annual contributions discussed above, there will be
     an immediate past service cost of approximately $812,000 which will be
     borne by Westchester County as a one-time payment. This estimate assumes
     that payment will be made on February 1, 2024. If Westchester County
     elects to amortize this cost over a 10-year period, the cost for the
     first year including interest would be $104,000.
       These estimated costs are based on 821 affected members employed by
     Westchester County, with annual salary of approximately $103 million as
     of March 31, 2022.
       Summary of relevant resources:
       Membership data as of March 31, 2022 was used in measuring the impact
     of the proposed change, the same data used in the April 1, 2022 actuari-
     al valuation. Distributions and other statistics can be found in the
     2022 Report of the Actuary and the 2022 Annual Comprehensive Financial
     Report.
       The actuarial assumptions and methods used are described in the 2020,
     2021, and 2022 Annual Report to the Comptroller on Actuarial Assump-
     tions, and the Codes, Rules and Regulations of the State of New York:
     Audit and Control.
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       The Market Assets and GASB Disclosures are found in the March 31, 2022
     New York State and Local Retirement System Financial Statements and
     Supplementary Information.
       This fiscal note does not constitute a legal opinion on the viability
     of the proposed change nor is it intended to serve as a substitute for
     the professional judgment of an attorney.
       This estimate, dated January 11, 2023, and intended for use only
     during the 2023 Legislative Session, is Fiscal Note No. 2023-20,
     prepared by the Actuary for the New York State and Local Retirement
     System.

1                                     PART HH

 2     Section 1. Paragraph 2 of subdivision c of section 513 of the retire-
 3   ment and social security law, as added by chapter 890 of the laws of
 4   1976, is amended to read as follows:
 5     2. (i) A police/fire member shall be eligible to obtain credit for
 6   service with a public employer described in paragraph one only if such
 7   service, if rendered prior to July first, nineteen hundred seventy-six
 8   by a police/fire member who was subject to article eleven of this chap-
 9   ter, would have been eligible for credit in the police/fire retirement
10   system or plan involved.
11     (ii) Notwithstanding any other provision of law to the contrary, a
12   member of the New York city fire department pension fund subject to this
13   article shall be eligible to obtain credit for any period of allowable
14   service rendered as an EMT member, as such term is defined in paragraph
15   one of subdivision a of section six hundred four-e of this chapter, as
16   added by chapter five hundred seventy-seven of the laws of two thousand,
17   which immediately precedes service in the uniformed force of the fire
18   department and such service shall be deemed to be in service of the
19   uniformed force of the fire department for purposes of eligibility for
20   benefits and to determine the amount of benefits under the New York city
21   fire department pension fund, provided that such member pays or trans-
22   fers into the New York city fire department pension fund all member
23   contributions set forth in section five hundred seventeen of this arti-
24   cle plus interest, at a rate of five percent per annum. For a member who
25   transfers such contributions from the New York city employees' retire-
26   ment system to the New York city fire department pension fund or for a
27   member who withdraws such contributions from the New York city employ-
28   ees' retirement system, such member's membership in the New York city
29   employees' retirement system shall cease upon such transfer or with-
30   drawal and such member shall retain no credited service in such system.
31     (iii) The provisions of this paragraph shall apply to a member with
32   ten or more years of credited service in the New York city employees'
33   retirement system, notwithstanding the provisions of section six hundred
34   thirteen of this chapter or any other provision of law to the contrary.
35     § 2. This act shall take effect immediately.
       FISCAL NOTE.--Pursuant to Legislative Law, Section 50:
       SUMMARY OF BILL: This proposed legislation would amend subdivision c
     of section 513 of the Retirement and Social Security Law (RSSL) to allow
     New York City Fire Pension Fund (FIRE) members subject to Article 14
     (Tier 3, Tier 3 Modified, and Tier 3 Enhanced) to obtain service credit
     for service rendered as an emergency medical technician (EMT) with the
     New York City Employee's Retirement System (NYCERS).
       The EMT service credit with NYCERS must immediately precede service in
     FIRE. If properly transferred or purchased, such service shall be deemed
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as pensionable service for purposes of determining the eligibility for
benefits and benefit amounts in FIRE.
  Upon attaining eligible service credit with FIRE, the member would
relinquish prior membership and applicable benefits with NYCERS.
  Effective Date: Upon enactment.
  IMPACT ON BENEFITS/PAYABILITY: Currently, the purchase or transfer of
service rendered as a NYCERS EMT member does not provide an additional
service retirement benefit for FIRE members subject to Article 14.
  Under the proposed legislation, EMT service transferred or purchased
would count for purposes of determining benefit amounts and eligibility
in FIRE and would increase and/or accelerate the payability date of
benefits.
  MEMBER CONTRIBUTIONS: Member contributions as defined in Article 14,
plus 5.0% annual interest, for EMT service purchased or transferred
would apply.
  Member contributions made as a NYCERS EMT member in excess of the
amount required would, if not otherwise utilized for a separate vested
benefit, be refunded with 5.0% annual interest.
  FINANCIAL IMPACT - PRESENT VALUES: Based on the census data and the
actuarial assumptions and methods described herein, the enactment of
this proposed legislation would result in an increase in the present
value of future employer contributions of approximately $19.3 million.
  This net increase is a result of an increase in the Present Value of
Future Benefits (PVFB) of approximately $16.7 million and a decrease in
the present value of member contributions of approximately $2.6 million.
  Under the Entry Age Normal cost method used to determine the employer
contributions to FIRE, there would be an increase in the Unfunded
Accrued Liability (UAL) of approximately $40.6 million offset by a
decrease in the present value of future employer Normal Cost of approxi-
mately $21.3 million.
  FINANCIAL IMPACT - ANNUAL EMPLOYER CONTRIBUTIONS: The enactment of
this proposed legislation would result in an initial increase in annual
employer contributions of approximately $3.9 million which is the result
of a decrease in the Normal Cost offset by the UAL payment. The average
annual employer cost per member included in this fiscal note is approxi-
mately $3,100.
  New UAL attributable to benefit changes are generally amortized over
the remaining working lifetime of those impacted by the benefit changes.
The remaining working lifetime for this group is approximately 19 years
and the increase in UAL was therefore amortized over a 19-year period
(18 payments under the One-Year Lag Methodology) using level dollar
payments.
  CENSUS DATA: The estimates presented herein are based on the census
data used in the June 30, 2022 actuarial valuation of FIRE to determine
the Preliminary Fiscal Year 2024 employer contributions.
  There are an estimated 1,261 active FIRE Tier 3 members as of June 30,
2022 who could potentially benefit from the proposed legislation by
purchasing or transferring service earned as an EMT member. These active
members had an average age of approximately 32.3 years, average service
of approximately 5.3 years (before purchasing any additional service),
and an average salary of approximately $98,500.
  On average, the 1,261 active FIRE Tier 3 members would be able to
purchase 3.0 years of service earned as an EMT member with an estimated
purchase cost of $7,400 per former EMT member as of June 30, 2022.
  ACTUARIAL ASSUMPTIONS AND METHODS: The estimates presented herein have
been calculated based on the actuarial assumptions and methods to be
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     used for the Preliminary Fiscal Year 2024 employer contributions of
     FIRE.
       For the purposes of this Fiscal Note, it is assumed that the changes
     would be reflected for the first time in the June 30, 2022 actuarial
     valuation of FIRE used to determine employer contributions for Fiscal
     Year 2024.
       RISK AND UNCERTAINTY: The costs presented in this Fiscal Note depend
     highly on the realization of the actuarial assumptions used, demograph-
     ics of the impacted population and other factors such as investment,
     contribution, and other risks. If actual experience deviates from actu-
     arial assumptions, the actual costs could differ from those presented
     herein.
       Costs are also dependent on the actuarial methods used, and therefore
     different actuarial methods could produce different results. Quantifying
     these risks is beyond the scope of this Fiscal Note.
       Not measured in this Fiscal Note are the following:
       * The employer costs for service purchased by future FIRE Tier 3
     members for service earned as an EMT member. However, as noted above,
     the average annual employer cost per member included in this Fiscal Note
     is approximately $3,100.
       * The initial, additional administrative costs to implement the
     proposed legislation.
       * The impact of this proposed legislation on Other Postemployment
     Benefit costs.
       STATEMENT OF ACTUARIAL OPINION: I, Marek Tyszkiewicz, am the Chief
     Actuary for, and independent of, the New York City Retirement Systems
     and Pension Funds. I am an Associate of the Society of Actuaries and a
     Member of the American Academy of Actuaries. I meet the Qualification
     Standards of the American Academy of Actuaries to render the actuarial
     opinion contained herein. To the best of my knowledge, the results
     contained herein have been prepared in accordance with generally
     accepted actuarial principles and procedures and with the Actuarial
     Standards of Practice issued by the Actuarial Standards Board.
       FISCAL NOTE IDENTIFICATION: This Fiscal Note 2023-01 dated February
     10, 2023 was prepared by the Chief Actuary for the New York City Fire
     Pension Fund. This estimate is intended for use only during the 2023
     Legislative Session.

1                                     PART II

 2     Section 1. Section 63-g of the retirement and social security law, as
 3   added by chapter 714 of the laws of 2021, is amended to read as follows:
 4     § 63-g. Disability benefits; certain disabilities. Notwithstanding any
 5   provision of this chapter or of any general, special or local law to the
 6   contrary, any member who is a county fire marshal, fire marshal, super-
 7   vising fire marshal, division supervising fire marshal, assistant chief
 8   fire marshal, chief fire marshal, assistant fire marshal, or fire
 9   marshal trainee employed by Nassau county who contracts any condition of
10   impairment of health caused by diseases of the heart, resulting in disa-
11   bility or death to such county fire marshal, fire marshal, supervising
12   fire marshal, division supervising fire marshal, assistant chief fire
13   marshal, chief fire marshal, assistant fire marshal, or fire marshal
14   trainee, presently employed, and who shall have sustained such disabili-
15   ty while so employed, shall be presumptive evidence that such disability
16   was incurred in the performance and discharge of duty and the natural
17   and proximate result of an accident, unless the contrary be proved by
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 1   competent evidence; provided, however, that prior to entry into service,
 2   such county fire marshal, fire marshal, supervising fire marshal, divi-
 3   sion supervising fire marshal, assistant chief fire marshal, chief fire
 4   marshal, assistant fire marshal, or fire marshal trainee successfully
 5   passed a physical examination which failed to disclose evidence of any
 6   disease or other impairment of the heart.
 7     § 2. The retirement and social security law is amended by adding a new
 8   section 63-i to read as follows:
 9     § 63-i.     Death benefits for fire marshals employed by Nassau county.
10   a. As used in this section, the term "fire marshal" shall mean a member
11   who is employed by Nassau county with a title of county fire marshal,
12   supervising fire marshal, fire marshal, assistant fire marshal, assist-
13   ant chief fire marshal, chief fire marshal, and division supervising
14   fire marshal.
15     b. Notwithstanding any provision of law to the contrary, where a fire
16   marshal would have been entitled to a service retirement benefit at the
17   time of his or her death and where his or her death occurs on or after
18   the effective date of this section, the beneficiary or beneficiaries may
19   elect to receive, in a lump sum, an amount payable which shall be equal
20   to the pension reserve that would have been established had the member
21   retired on the date of his or her death, or the value of the death bene-
22   fit and the reserve-for-increased-take-home-pay, if any, whichever is
23   greater.
24     § 3. Subdivisions a and j of section 89-w of the retirement and social
25   security law, as added by chapter 295 of the laws of 2007, are amended
26   to read as follows:
27     a. A member who serves as a county fire marshal, supervising fire
28   marshal, fire marshal, assistant fire marshal, assistant chief fire
29   marshal [or], chief fire marshal or division supervising fire marshal
30   and is employed by the county of Nassau shall be eligible to retire
31   pursuant to the provisions of this section. Such eligibility shall be an
32   alternative to the eligibility provisions available under any other plan
33   of this article to which such member is subject. The county executive of
34   the county of Nassau shall certify to the comptroller, periodically and
35   at such intervals of time as may be required of him or her and in such
36   fashion as may be prescribed, the identity of the eligible county fire
37   marshal, supervising fire marshals, fire marshals, assistant fire
38   marshals, assistant chief fire marshals [and], chief fire marshals and
39   division supervising fire marshals in his or her employ.
40     j. Notwithstanding any provision of this section or of any other
41   provision of law to the contrary, county fire marshals, supervising fire
42   marshals, fire marshals, assistant fire marshals, assistant chief fire
43   marshals [and], chief fire marshals and division supervising fire
44   marshals must serve five years within the Nassau county fire marshal
45   department after the effective date of this section before they are
46   eligible to retire under the provisions of the twenty-five year retire-
47   ment plan.
48     § 4. Subdivision a of section 445 of the retirement and social securi-
49   ty law, as amended by chapter 245 of the laws of 2021, is amended to
50   read as follows:
51     a. No member of a retirement system who is subject to the provisions
52   of this article shall retire without regard to age, exclusive of retire-
53   ment for disability, unless he or she is a police officer, an investi-
54   gator member of the New York city employees' retirement system, fire-
55   fighter, correction officer, a qualifying member as defined in section
56   eighty-nine-t, as added by chapter six hundred fifty-seven of the laws
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 1   of nineteen hundred ninety-eight, of this chapter, sanitation worker, a
 2   special officer (including persons employed by the city of New York in
 3   the title urban park ranger or associate urban park ranger), school
 4   safety agent, campus peace officer or a taxi and limousine commission
 5   inspector member of the New York city employees' retirement system or
 6   the New York city board of education retirement system, a dispatcher
 7   member of the New York city employees' retirement system, a police
 8   communications member of the New York city employees' retirement system,
 9   an EMT member of the New York city employees' retirement system, a depu-
10   ty sheriff member of the New York city employees' retirement system, a
11   correction officer of the Westchester county correction department as
12   defined in section eighty-nine-e of this chapter or employed in Suffolk
13   county as a peace officer, as defined in section eighty-nine-s, as added
14   by chapter five hundred eighty-eight of the laws of nineteen hundred
15   ninety-seven,   of this chapter, employed in Suffolk county as a
16   correction officer, as defined in section eighty-nine-f of this chapter,
17   or employed in Nassau county as a correction officer, uniformed
18   correction division personnel, sheriff, undersheriff or deputy sheriff,
19   as defined in section eighty-nine-g of this chapter, or employed in
20   Nassau county as an ambulance medical technician, an ambulance medical
21   technician/supervisor or a member who performs ambulance medical techni-
22   cian related services, or a police medic, police medic supervisor or a
23   member who performs police medic related services, as defined in section
24   eighty-nine-s, as amended by chapter five hundred seventy-eight of the
25   laws of nineteen hundred ninety-eight, of this chapter, or employed in
26   Nassau county as a peace officer, as defined in section eighty-nine-s,
27   as added by chapter five hundred ninety-five of the laws of nineteen
28   hundred ninety-seven, of this chapter, or employed in Albany county as a
29   sheriff, undersheriff, deputy sheriff, correction officer or identifica-
30   tion officer, as defined in section eighty-nine-h of this chapter or is
31   employed in St. Lawrence county as a sheriff, undersheriff, deputy sher-
32   iff or correction officer, as defined in section eighty-nine-i of this
33   chapter or is employed in Orleans county as a sheriff, undersheriff,
34   deputy sheriff or correction      officer,   as   defined   in   section
35   eighty-nine-l of this chapter or is employed in Jefferson county as a
36   sheriff, undersheriff, deputy sheriff or correction officer, as defined
37   in section eighty-nine-j of this chapter or is employed in Onondaga
38   county as a deputy sheriff-jail division competitively appointed or as a
39   correction officer, as defined in section eighty-nine-k of this chapter
40   or is employed in a county which makes an election under subdivision j
41   of section eighty-nine-p of this chapter as a sheriff, undersheriff,
42   deputy sheriff or correction officer as defined in such section eighty-
43   nine-p or is employed in Broome County as a sheriff, undersheriff, depu-
44   ty sheriff or correction officer, as defined in section eighty-nine-m of
45   this chapter or is a Monroe county deputy sheriff-court security, or
46   deputy sheriff-jailor as defined in section eighty-nine-n, as added by
47   chapter five hundred ninety-seven of the laws of nineteen hundred nine-
48   ty-one, of this chapter or is employed in Greene county as a sheriff,
49   undersheriff, deputy sheriff or correction officer, as defined in
50   section eighty-nine-o of this chapter or is a traffic officer with the
51   town of Elmira as defined in section eighty-nine-q of this chapter or is
52   employed by Suffolk county as a park police officer, as defined in
53   section eighty-nine-r of this chapter or is a peace officer employed by
54   a county probation department as defined in section eighty-nine-t, as
55   added by chapter six hundred three of the laws of nineteen hundred nine-
56   ty-eight, of this chapter or is employed in Rockland county as a deputy
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 1   sheriff-civil as defined in section eighty-nine-v of this chapter as
 2   added by chapter four hundred forty-one of the laws of two thousand one,
 3   or is employed in Rockland county as a superior correction officer as
 4   defined in section eighty-nine-v of this chapter as added by chapter
 5   five hundred fifty-six of the laws of two thousand one or is a paramedic
 6   employed by the police department in the town of Tonawanda and retires
 7   under the provisions of section eighty-nine-v of this chapter, as added
 8   by chapter four hundred seventy-two of the laws of two thousand one, or
 9   is a county fire marshal, supervising fire marshal, fire marshal,
10   assistant fire marshal, assistant chief fire marshal [or], chief fire
11   marshal, division supervising fire marshal or fire marshal trainee
12   employed by the county of Nassau as defined in section eighty-nine-w of
13   this chapter and is in a plan which permits immediate retirement upon
14   completion of a specified period of service without regard to age.
15   Except as provided in subdivision c of section four hundred forty-five-a
16   of this article, subdivision c of section four hundred forty-five-b of
17   this article, subdivision c of section four hundred forty-five-c of this
18   article, subdivision c of section four hundred forty-five-d of this
19   article, subdivision c of section four hundred forty-five-e of this
20   article, subdivision c of section four hundred forty-five-f of this
21   article and subdivision c of section four hundred forty-five-h of this
22   article, a member in such a plan and such an occupation, other than a
23   police officer or investigator member of the New York city employees'
24   retirement system or a firefighter, shall not be permitted to retire
25   prior to the completion of twenty-five years of credited service;
26   provided, however, if such a member in such an occupation is in a plan
27   which permits retirement upon completion of twenty years of service
28   regardless of age, he or she may retire upon completion of twenty years
29   of credited service and prior to the completion of twenty-five years of
30   service, but in such event the benefit provided from funds other than
31   those based on such a member's own contributions shall not exceed two
32   per centum of final average salary per each year of credited service.
33     § 5. The retirement and social security law is amended by adding a new
34   section 508-c to read as follows:
35     § 508-c. Death benefits for fire marshals employed by Nassau county.
36   a. As used in this section, the term "fire marshal" shall mean a member
37   who is employed by Nassau county with a title of county fire marshal,
38   supervising fire marshal, fire marshal, assistant fire marshal, assist-
39   ant chief fire marshal, chief fire marshal, or division supervising fire
40   marshal.
41     b. Notwithstanding any provision of law to the contrary, where a fire
42   marshal would have been entitled to a service retirement benefit at the
43   time of his or her death and where his or her death occurs on or after
44   the effective date of this section, the beneficiary or beneficiaries may
45   elect to receive, in a lump sum, an amount payable which shall be equal
46   to the pension reserve that would have been established had the member
47   retired on the date of his or her death, or the value of the death bene-
48   fit and the reserve-for-increased-take-home-pay, if any, whichever is
49   greater.
50     § 6. Subdivision s of section 603 of the retirement and social securi-
51   ty law, as added by chapter 295 of the laws of 2007, is amended to read
52   as follows:
53     s. The service retirement benefit specified in section six hundred
54   four of this article shall be payable to members with twenty-five years
55   of creditable service, without regard to age, who are employed in the
56   county of Nassau as a county fire marshal, supervising fire marshal,
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 1   fire marshal, assistant fire marshal, assistant chief fire marshal [or],
 2   chief fire marshal or division supervising fire marshal as defined in
 3   section eighty-nine-w of this chapter if: (i) such members have met the
 4   minimum service requirements upon retirement, and (ii) in the case of a
 5   member subject to the provisions of article fourteen of this chapter,
 6   such member files an election therefor which provides that he or she
 7   will be subject to the provisions of this article and to none of the
 8   provisions of such article fourteen.       Such election, which shall be
 9   irrevocable, shall be in writing, duly executed and shall be filed with
10   the comptroller within one year of the effective date of this subdivi-
11   sion or within one year after entering the employment with such county
12   upon which eligibility is based, whichever comes later. For the purposes
13   of this subdivision, the term "creditable service" shall have the mean-
14   ing as so defined in both sections eighty-nine-w and six hundred one of
15   this chapter.
16     § 7. Subdivision t of section 604 of the retirement and social securi-
17   ty law, as added by chapter 295 of the laws of 2007, is amended to read
18   as follows:
19     t. The early service retirement benefit for a member who is employed
20   in the county of Nassau as a county fire marshal, supervising fire
21   marshal, fire marshal, assistant fire marshal, assistant chief fire
22   marshal [or], chief fire marshal or division supervising fire marshal as
23   defined in section eighty-nine-w of this chapter shall be a pension
24   equal to one-fiftieth of final average salary times years of credited
25   service at the completion of twenty-five years of service as such county
26   fire marshal, supervising fire marshal, fire marshal, assistant fire
27   marshal, assistant chief fire marshal [or], chief fire marshal or divi-
28   sion supervising fire marshal, but not exceeding one-half of his or her
29   final average salary.
30     § 8. The opening paragraph of subdivision a and subdivision g of
31   section 605-d of the retirement and social security law, as added by
32   chapter 416 of the laws of 2013, are amended to read as follows:
33     A member employed as a chief fire marshal, assistant chief fire
34   marshal, division supervising fire marshal, supervising fire marshal,
35   fire marshal or fire marshal trainee in Nassau county shall be entitled
36   to an accidental disability retirement allowance if, at the time appli-
37   cation therefor is filed, such member is:
38     g. Notwithstanding any other provision of law, this section shall
39   apply to chief fire marshals, assistant chief fire marshals, division
40   supervising fire marshals, supervising fire marshals, fire marshals and
41   fire marshal trainees in Nassau county who were hired on or after July
42   twenty-seventh, nineteen hundred seventy-six.
43     § 9. Section 605-f of the retirement and social security law, as added
44   by chapter 714 of the laws of 2021, is amended to read as follows:
45     § 605-f. Disability benefits; certain disabilities. Notwithstanding
46   any provision of this chapter or of any general, special or local law to
47   the contrary, any member who is a county fire marshal, fire marshal,
48   supervising fire marshal, division supervising fire marshal, assistant
49   chief fire marshal, chief fire marshal, assistant fire marshal, or fire
50   marshal trainee employed by Nassau county who contracts any condition of
51   impairment of health caused by diseases of the heart, resulting in disa-
52   bility or death to such county fire marshal, fire marshal, supervising
53   fire marshal, division supervising fire marshal, assistant chief fire
54   marshal, chief fire marshal, assistant fire marshal, or fire marshal
55   trainee, presently employed, and who shall have sustained such disabili-
56   ty while so employed, shall be presumptive evidence that such disability
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 1   was incurred in the performance and discharge of duty and the natural
 2   and proximate result of an accident, unless the contrary be proved by
 3   competent evidence; provided, however, that prior to entry into service,
 4   such county fire marshal, fire marshal, supervising fire marshal, divi-
 5   sion supervising fire marshal, assistant chief fire marshal, chief fire
 6   marshal, assistant fire marshal, or fire marshal trainee successfully
 7   passed a physical examination which failed to disclose evidence of any
 8   disease or other impairment of the heart.
 9     § 10. The retirement and social security law is amended by adding a
10   new section 606-c to read as follows:
11     § 606-c. Death benefits for fire marshals employed by Nassau county.
12   a. As used in this section, the term "fire marshal" shall mean a member
13   who is employed by Nassau county with a title of county fire marshal,
14   supervising fire marshal, fire marshal, assistant fire marshal, assist-
15   ant chief fire marshal, chief fire marshal, or division supervising fire
16   marshal.
17     b. Notwithstanding any provision of law to the contrary, where a fire
18   marshal would have been entitled to a service retirement benefit at the
19   time of his or her death and where his or her death occurs on or after
20   the effective date of this section, the beneficiary or beneficiaries may
21   elect to receive, in a lump sum, an amount payable which shall be equal
22   to the pension reserve that would have been established had the member
23   retired on the date of his or her death, or the value of the death bene-
24   fit and the reserve-for-increased-take-home-pay, if any, whichever is
25   greater.
26     § 11. Subdivision a of section 607-j of the retirement and social
27   security law, as added by chapter 524 of the laws of 2021, is amended to
28   read as follows:
29     a. The county of Nassau shall make the benefits provided herein avail-
30   able to county fire marshals, chief fire marshals, assistant chief fire
31   marshals, division supervising fire marshals, supervising fire marshals,
32   fire marshals, assistant fire marshals and fire marshal trainees in the
33   employ of Nassau county.
34     § 12. All past service costs associated with implementing the
35   provisions of this act shall be borne by the county of Nassau and may be
36   amortized over a period of ten years.
37     § 13. Notwithstanding any provision of law to the contrary, none of
38   the provisions of this act shall be subject to the appropriation
39   requirement of section twenty-five of the retirement and social security
40   law.
41     § 14. This act shall take effect immediately.
       FISCAL NOTE.--Pursuant to Legislative Law, Section 50:
       This bill would modify the in-service death benefit for retirement
     eligible members of the New York State and Local Employees' Retirement
     System who are employed by Nassau County in certain fire marshal job
     titles. The in-service death benefit will be the value of the pension
     reserve as if the member had retired on their date of death.
       If this bill is enacted during the 2023 legislative session, we antic-
     ipate that there will be an increase of approximately $5,400 in the
     annual contributions of Nassau County for the fiscal year ending March
     31, 2024. In future years, this cost will vary as the billing rates and
     salary of the affected members change.
       In addition to the annual contributions discussed above, there will be
     an immediate past service cost of approximately $48,700 which will be
     borne by Nassau County as a one-time payment. This estimate assumes that
     payment will be made on February 1, 2024. If Nassau County elects to
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     amortize this cost over a 10-year period, the cost for the first year
     including interest would be $6,220.
       These estimated costs are based on 44 affected members employed by
     Nassau County, with annual salary of approximately $5.0 million as of
     March 31, 2022.
       Summary of relevant resources:
       Membership data as of March 31, 2022 was used in measuring the impact
     of the proposed change, the same data used in the April 1, 2022 actuari-
     al valuation. Distributions and other statistics can be found in the
     2022 Report of the Actuary and the 2022 Annual Comprehensive Financial
     Report.
       The actuarial assumptions and methods used are described in the 2020,
     2021, and 2022 Annual Report to the Comptroller on Actuarial Assump-
     tions, and the Codes, Rules and Regulations of the State of New York:
     Audit and Control.
       The Market Assets and GASB Disclosures are found in the March 31, 2022
     New York State and Local Retirement System Financial Statements and
     Supplementary Information.
       I am a member of the American Academy of Actuaries and meet the Quali-
     fication Standards to render the actuarial opinion contained herein.
       This fiscal note does not constitute a legal opinion on the viability
     of the proposed change nor is it intended to serve as a substitute for
     the professional judgment of an attorney.
       This estimate, dated January 31, 2023, and intended for use only
     during the 2023 Legislative Session, is Fiscal Note No. 2023-21,
     prepared by the Actuary for the New York State and Local Retirement
     System.

1                                     PART JJ

 2     Section 1. Paragraphs 1 and 2 of subdivision b of section 517-c of the
 3   retirement and social security law, paragraph 1 as amended and paragraph
 4   2 as added by chapter 303 of the laws of 2017, are amended to read as
 5   follows:
 6     1. A member of the New York state and local employees' retirement
 7   system, the New York state and local police and fire retirement system,
 8   the New York city employees' retirement system [or], the New York city
 9   board of education retirement system or the New York city police pension
10   fund in active service who has credit for at least one year of member
11   service may borrow, no more than once during each twelve month period,
12   an amount not exceeding seventy-five percent of the total contributions
13   made pursuant to section five hundred seventeen of this article (includ-
14   ing interest credited at the rate set forth in subdivision c of such
15   section five hundred seventeen compounded annually) and not less than
16   one thousand dollars, provided, however, that the provisions of this
17   section    shall    not   apply   to   a   New   York   city   uniformed
18   correction/sanitation revised plan member or an investigator revised
19   plan member.
20     2. A member of the New York state and local employees' retirement
21   system who first joins such system on or after January first, two thou-
22   sand eighteen, or a member of the New York city police pension fund who
23   first joins such system on or after January first, two thousand eighteen
24   in active service who has credit for at least one year of member service
25   may borrow, no more than once during each twelve month period, an
26   amount, not less than one thousand dollars and which would not cause the
27   balance owed pursuant to this section, including any amounts borrowed
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 1   then outstanding, to exceed (i) fifty percent of the member's total
 2   contributions made pursuant to section five hundred seventeen of this
 3   article (including interest credited at the rate set forth in subdivi-
 4   sion c of such section five hundred seventeen compounded annually); or
 5   (ii) fifty thousand dollars, whichever is less.
 6     § 2. Subdivisions d and i of section 517-c of the retirement and
 7   social security law, subdivision d as added by chapter 920 of the laws
 8   of 1990 and subdivision i as amended by chapter 426 of the laws of 2018,
 9   are amended to read as follows:
10     d. The rate of interest payable upon loans made pursuant to this
11   section shall: (1) for members of the New York state and local employ-
12   ees' retirement system, be one percent less than the valuation rate of
13   interest adopted for such system, however, in no event shall the rate be
14   less than the rate set forth in subdivision c of section five hundred
15   seventeen of this article; (2) for members of the New York city employ-
16   ees' retirement system, be one percent less than the regular interest
17   rate established pursuant to [subdivision (c) of section 13-101.12]
18   paragraph (c) of subdivision twelve of section 13-101 of the administra-
19   tive code of the city of New York for such system, however, in no event
20   shall the rate be less than the rate set forth in subdivision c of
21   section five hundred seventeen of this article; [and] (3) for members of
22   the New York city board of education retirement system, be one percent
23   less than the regular interest rate established pursuant to subparagraph
24   four of paragraph (b) of subdivision sixteen of section twenty-five
25   hundred seventy-five of the education law for such system, however, in
26   no event shall the rate be less than the rate set forth in subdivision c
27   of section five hundred seventeen of this article; and (4) for members
28   of the New York city police pension fund, be the regular interest rate
29   established pursuant to subdivision b of section 13-638.2 of the admin-
30   istrative code of the city of New York for such system, however, in no
31   event shall the rate be less than the rate set forth in subdivision c of
32   section five hundred seventeen of this article.   Whenever there is a
33   change in the interest rate, it shall be applicable to loans made or
34   renegotiated after the date of such change in the interest rate.
35     i. Notwithstanding the provisions of section five hundred sixteen of
36   this article, whenever a member of such a retirement system, for whom a
37   loan is outstanding, retires, the retirement allowance payable without
38   optional modification shall be reduced by a life annuity which is actu-
39   arially equivalent to the amount of the outstanding loan (all outstand-
40   ing loans shall continue to accrue interest charges until retirement),
41   such life annuity being calculated utilizing the interest rate on thirty
42   year United States treasury bonds as of January first of the calendar
43   year of the effective date of retirement and the mortality tables for
44   options available under section five hundred fourteen of this article. A
45   retiree of the New York city employees' retirement system, board of
46   education retirement system of the city of New York, [or] the New York
47   state and local employees' retirement system, or the New York city
48   police pension fund whose benefit has been so reduced may repay the
49   outstanding balance of the loan at any time. Benefits payable after the
50   repayment of the loan shall not be subject to the actuarial reduction
51   required by this subdivision.
52     § 3. This act shall take effect immediately.
       FISCAL NOTE.--Pursuant to Legislative Law, Section 50:
       SUMMARY OF BILL: This proposed legislation would amend the Retirement
     and Social Security Law (RSSL) to permit Tier 3, Tier 3 Revised, and
     Tier 3 Enhanced members (who are subject to Article 14) of the New York
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City Police Pension Fund (POLICE) to take loans against their accumu-
lated total member contributions with interest.
  Effective Date: Upon enactment.
  BACKGROUND: Tier 1 and Tier 2 members of POLICE are generally permit-
ted, subject to certain restrictions, to borrow from their accumulated
Basic Member Contributions (BMC) with interest. However, Tier 3, Tier 3
Revised, and Tier 3 Enhanced members are currently not permitted to take
loans on their contributions.
  The proposed legislation would permit Tier 3, Tier 3 Revised, and Tier
3 Enhanced members of POLICE to borrow from their accumulated total
member contributions, which include Enhanced Plan Additional Member
Contributions (AMC). Loans may be taken no more than once a year, and
the dollar amount is subject to minimum and maximum restrictions. For
members with a date of membership before January 1, 2018, the members
may take out a loan up to 75% of their total contributions plus accumu-
lated interest. For members with a date of membership on and after Janu-
ary 1, 2018, the loan is limited to 50% of their total member contrib-
utions plus accumulated interest or $50,000, whichever is less.
  FINANCIAL IMPACT: In the event an outstanding loan exists at retire-
ment, the balance of the unpaid loan is converted to an annuity based on
the yield on 30-year U.S. Treasury securities and deducted from the
annual retirement allowance otherwise payable. This conversion is made
on an actuarial basis that is different than the basis used to determine
the employer contribution to POLICE. As a result of this difference in
actuarial bases and based on the census data and actuarial assumptions
and methods described herein, the enactment of this proposed legislation
would increase the Present Value of Future Benefits (PVFB) by approxi-
mately $43.7 million.
  Under the Entry Age Normal cost method used to determine the employer
contributions to POLICE, there would be an increase in the Unfunded
Accrued Liability (UAL) of approximately $11.3 million and an increase
in the Present Value of Future Employer Normal Cost of approximately
$32.4 million.
  FINANCIAL IMPACT - ANNUAL EMPLOYER CONTRIBUTIONS: The enactment of
this proposed legislation would result in an initial increase in annual
employer contributions of approximately $3.4 million. This increase
consists of an increase in the Normal Cost in addition to the UAL
payment.
  Future costs will vary based on the amount of member contributions
eligible for loans. Individual member balances are expected to increase,
however in the future, a larger portion of the membership will have
membership dates on or after January 1, 2018, and therefore be limited
to a maximum loan percentage of 50% and a maximum loan amount of
$50,000.
  New UAL attributable to benefit changes are generally amortized over
the remaining working lifetime of those impacted by the benefit changes.
The remaining working lifetime for this group is approximately 18 years
and the increase in UAL was therefore amortized over an 18-year period
(17 payments under the One-Year Lag Methodology) using level dollar
payments.
  CENSUS DATA: The estimates presented herein are based on the census
data used in the June 30, 2022 actuarial valuation of POLICE to deter-
mine the Preliminary Fiscal Year 2024 employer contributions.
  The 19,375 Tier 3, Tier 3 Revised, and Tier 3 Enhanced members in
POLICE as of June 30, 2022 had an average age of approximately 32.2
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     years, average service of approximately 5.7 years, and an average salary
     of approximately $101,600.
       ACTUARIAL ASSUMPTIONS AND METHODS: The estimates presented herein have
     been calculated based on the actuarial assumptions and methods used for
     the Preliminary Fiscal Year 2024 employer contributions of POLICE.
       For the purposes of this Fiscal Note, it is assumed that the changes
     would be reflected for the first time in the June 30, 2022 actuarial
     valuation of POLICE used to determine employer contributions for Fiscal
     Year 2024.
       It has been further assumed that the yield on 30-year U.S. Treasury
     securities, on a long-term basis would equal 3.5% per year and that 25%
     of member balances available for borrowing would be taken as loans at
     retirement.
       RISK AND UNCERTAINTY: The costs presented in this Fiscal Note depend
     highly on the realization of the actuarial assumptions used, demograph-
     ics of the impacted population and other factors such as investment,
     contribution, and other risks. If actual experience deviates from actu-
     arial assumptions, the actual costs could differ from those presented
     herein.
       Costs are also dependent on the actuarial methods used, and therefore
     different actuarial methods could produce different results. Quantifying
     these risks is beyond the scope of this Fiscal Note.
       Not measured in this Fiscal Note are the following:
       * The initial additional administrative costs to implement the
     proposed legislation.
       STATEMENT OF ACTUARIAL OPINION: I, Marek Tyszkiewicz, am the Chief
     Actuary for, and independent of, the New York City Retirement Systems
     and Pension Funds. I am an Associate of the Society of Actuaries and a
     Member of the American Academy of Actuaries. I am a member of NYCERS but
     do not believe it impairs my objectivity and I meet the Qualification
     Standards of the American Academy of Actuaries to render the actuarial
     opinion contained herein. To the best of my knowledge, the results
     contained herein have been prepared in accordance with generally
     accepted actuarial principles and procedures and with the Actuarial
     Standards of Practice issued by the Actuarial Standards Board.
       FISCAL NOTE IDENTIFICATION: This Fiscal Note 2023-24 dated April 5,
     2023 was prepared by the Chief Actuary for the New York City Police
     Pension Fund. This estimate is intended for use only during the 2023
     Legislative Session.

1                                     PART KK

 2     Section 1. The retirement and social security law is amended by adding
 3   a new section 89-x to read as follows:
 4     § 89-x. Retirement of deputy sheriffs-civil in Monroe county.    a. A
 5   member employed in Monroe county shall be eligible to retire pursuant to
 6   the provisions of section eighty-nine-p of this title if the county of
 7   Monroe elects to make the benefits provided in section eighty-nine-p of
 8   this title available to the sheriff, undersheriffs, deputy sheriffs and
 9   correction officers of such county and if he or she is a deputy sher-
10   iff-civil of such county. Such eligibility shall be an alternative to
11   the eligibility provisions available under any other plan of this arti-
12   cle to which such member is subject.
13     b. The term "creditable service" shall include any and all services
14   performed as a deputy sheriff-civil of Monroe county and other credita-
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 1   ble service as defined in subdivisions d and e of section eighty-nine-p
 2   of this title.
 3     c. Monroe county is authorized to adopt a resolution on or before
 4   December thirty-first, two thousand twenty-four to extend the provisions
 5   of this section to those members defined in subdivision a of this
 6   section. A certified copy of such resolution must be filed with the
 7   comptroller and may contain an election that any past service cost be
 8   paid over either a five-year or ten-year period. Such resolution shall
 9   be accompanied by the affidavit of the chief executive officer of Monroe
10   county that the county has received an estimate from the retirement
11   system of the cost of the benefit provided by this section.
12     d. The sheriff shall certify to the comptroller, periodically and at
13   such intervals of time as may be required of him or her and in such
14   fashion as may be prescribed, the identity of the deputy sheriffs-civil
15   of Monroe county.
16     e. Unless otherwise indicated in this section, the provisions of
17   section eighty-nine-p of this title shall be controlling.
18     § 2. Subdivision a of section 445 of the retirement and social securi-
19   ty law, as amended by chapter 245 of the laws of 2021, is amended to
20   read as follows:
21     a. No member of a retirement system who is subject to the provisions
22   of this article shall retire without regard to age, exclusive of retire-
23   ment for disability, unless he or she is a police officer, an investi-
24   gator member of the New York city employees' retirement system, fire-
25   fighter, correction officer, a qualifying member as defined in section
26   eighty-nine-t, as added by chapter six hundred fifty-seven of the laws
27   of nineteen hundred ninety-eight, of this chapter, sanitation worker, a
28   special officer (including persons employed by the city of New York in
29   the title urban park ranger or associate urban park ranger), school
30   safety agent, campus peace officer or a taxi and limousine commission
31   inspector member of the New York city employees' retirement system or
32   the New York city board of education retirement system, a dispatcher
33   member of the New York city employees' retirement system, a police
34   communications member of the New York city employees' retirement system,
35   an EMT member of the New York city employees' retirement system, a depu-
36   ty sheriff member of the New York city employees' retirement system, a
37   correction officer of the Westchester county correction department as
38   defined in section eighty-nine-e of this chapter or employed in Suffolk
39   county as a peace officer, as defined in section eighty-nine-s, as added
40   by chapter five hundred eighty-eight of the laws of nineteen hundred
41   ninety-seven, of this chapter, employed in Suffolk county as           a
42   correction officer, as defined in section eighty-nine-f of this chapter,
43   or employed in Nassau county as a correction officer, uniformed
44   correction division personnel, sheriff, undersheriff or deputy sheriff,
45   as defined in section eighty-nine-g of this chapter, or employed in
46   Nassau county as an ambulance medical technician, an ambulance medical
47   technician/supervisor or a member who performs ambulance medical techni-
48   cian related services, or a police medic, police medic supervisor or a
49   member who performs police medic related services, as defined in section
50   eighty-nine-s, as amended by chapter five hundred seventy-eight of the
51   laws of nineteen hundred ninety-eight, of this chapter, or employed in
52   Nassau county as a peace officer, as defined in section eighty-nine-s,
53   as added by chapter five hundred ninety-five of the laws of nineteen
54   hundred ninety-seven, of this chapter, or employed in Albany county as a
55   sheriff, undersheriff, deputy sheriff, correction officer or identifica-
56   tion officer, as defined in section eighty-nine-h of this chapter or is
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 1   employed in St. Lawrence county as a sheriff, undersheriff, deputy sher-
 2   iff or correction officer, as defined in section eighty-nine-i of this
 3   chapter or is employed in Orleans county as a sheriff, undersheriff,
 4   deputy   sheriff   or   correction   officer,   as defined in section
 5   eighty-nine-l of this chapter or is employed in Jefferson county as a
 6   sheriff, undersheriff, deputy sheriff or correction officer, as defined
 7   in section eighty-nine-j of this chapter or is employed in Onondaga
 8   county as a deputy sheriff-jail division competitively appointed or as a
 9   correction officer, as defined in section eighty-nine-k of this chapter
10   or is employed in a county which makes an election under subdivision j
11   of section eighty-nine-p of this chapter as a sheriff, undersheriff,
12   deputy sheriff or correction officer as defined in such section eighty-
13   nine-p or is employed in Broome County as a sheriff, undersheriff, depu-
14   ty sheriff or correction officer, as defined in section eighty-nine-m of
15   this chapter or is a Monroe county deputy sheriff-court security, or
16   deputy sheriff-jailor as defined in section eighty-nine-n, as added by
17   chapter five hundred ninety-seven of the laws of nineteen hundred nine-
18   ty-one, of this chapter or is employed in Greene county as a sheriff,
19   undersheriff, deputy sheriff or correction officer, as defined in
20   section eighty-nine-o of this chapter or is a traffic officer with the
21   town of Elmira as defined in section eighty-nine-q of this chapter or is
22   employed by Suffolk county as a park police officer, as defined in
23   section eighty-nine-r of this chapter or is a peace officer employed by
24   a county probation department as defined in section eighty-nine-t, as
25   added by chapter six hundred three of the laws of nineteen hundred nine-
26   ty-eight, of this chapter or is employed in Rockland county as a deputy
27   sheriff-civil as defined in section eighty-nine-v of this chapter as
28   added by chapter four hundred forty-one of the laws of two thousand one,
29   or is employed in Rockland county as a superior correction officer as
30   defined in section eighty-nine-v of this chapter as added by chapter
31   five hundred fifty-six of the laws of two thousand one or is a paramedic
32   employed by the police department in the town of Tonawanda and retires
33   under the provisions of section eighty-nine-v of this chapter, as added
34   by chapter four hundred seventy-two of the laws of two thousand one, or
35   is a county fire marshal, supervising fire marshal, fire marshal,
36   assistant fire marshal, assistant chief fire marshal or chief fire
37   marshal employed by the county of Nassau as defined in section eighty-
38   nine-w of this chapter or is employed in Monroe county as a deputy sher-
39   iff-civil as defined in section eighty-nine-x of this chapter and is in
40   a plan which permits immediate retirement upon completion of a specified
41   period of service without regard to age. Except as provided in subdivi-
42   sion c of section four hundred forty-five-a of this article, subdivision
43   c of section four hundred forty-five-b of this article, subdivision c of
44   section four hundred forty-five-c of this article, subdivision c of
45   section four hundred forty-five-d of this article, subdivision c of
46   section four hundred forty-five-e of this article, subdivision c of
47   section four hundred forty-five-f of this article and subdivision c of
48   section four hundred forty-five-h of this article, a member in such a
49   plan and such an occupation, other than a police officer or investigator
50   member of the New York city employees' retirement system or a firefight-
51   er, shall not be permitted to retire prior to the completion of twenty-
52   five years of credited service; provided, however, if such a member in
53   such an occupation is in a plan which permits retirement upon completion
54   of twenty years of service regardless of age, he or she may retire upon
55   completion of twenty years of credited service and prior to the
56   completion of twenty-five years of service, but in such event the bene-
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 1   fit provided from funds other than those based on such a member's own
 2   contributions shall not exceed two per centum of final average salary
 3   per each year of credited service.
 4     § 3. Section 603 of the retirement and social security law is amended
 5   by adding a new subdivision u to read as follows:
 6     u. The service retirement benefit specified in section six hundred
 7   four of this article shall be payable to members with twenty-five or
 8   more years of creditable service, without regard to age, who are
 9   employed as deputy sheriffs-civil in Monroe county, as defined in
10   section eighty-nine-x of this chapter if: (i) such members have met the
11   minimum service requirements upon retirement, and (ii) in the case of a
12   member subject to the provisions of article fourteen of this chapter,
13   such member files an election therefor which provides that he or she
14   will be subject to the provisions of this article and to none of the
15   provisions of such article fourteen. Such election, which shall be irre-
16   vocable, shall be in writing, duly executed and shall be filed with the
17   comptroller on or before December thirty-first, two thousand twenty-four
18   or within one year of entering into service as a deputy sheriff-civil in
19   Monroe county. The term "creditable service" shall have the meaning as
20   so defined in section eighty-nine-x and subdivision c of section six
21   hundred one of this chapter.
22     § 4. Section 604 of the retirement and social security law is amended
23   by adding a new subdivision u to read as follows:
24     u. The early service retirement for a member who is employed as a
25   deputy sheriff-civil as defined in section eighty-nine-x of this chap-
26   ter, shall be a pension equal to one-fiftieth of final average salary
27   times years of credited service at the completion of twenty-five years
28   of service as such deputy sheriff-civil, but not exceeding one-half of
29   his or her final average salary.
30     § 5. All past service costs associated with implementing           the
31   provisions of this act shall be borne by Monroe County.
32     § 6. This act shall take effect immediately.
       FISCAL NOTE.--Pursuant to Legislative Law, Section 50:
       This bill would permit members of the New York State and Local Employ-
     ees' Retirement System (NYSLERS) who are employed by Monroe County in
     the title of deputy sheriff-civil, as certified by the sheriff, to
     retire upon completion of twenty-five (25) years of creditable service
     with a benefit of one-half (50%) final average salary, provided Monroe
     County has filed a resolution with the New York State Comptroller to
     provide such benefits on or before December 31, 2024. Additionally, for
     those members covered under the provisions of Article 14, this bill
     would permit an irrevocable election to forfeit the benefits of Article
     14 in favor of the 25-year plan benefit, when elected on or before
     December 31, 2024 or within one year of entering service as a deputy
     sheriff-civil with Monroe County.
       If this bill is enacted during the 2023 legislative session, we antic-
     ipate that there will be an increase of approximately $24,000 in the
     annual contributions of Monroe County for the fiscal year ending March
     31, 2024. In future years, this cost will vary as the billing rates and
     salary of the affected members change.
       In addition to the annual contributions discussed above, there will be
     an immediate past service cost of approximately $147,000 which will be
     borne by Monroe County as a one-time payment. This estimate assumes that
     payment will be made on February 1, 2024.
       These estimated costs are based on 9 affected members employed by
     Monroe County, with annual salary of approximately $688,000 as of March
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     31, 2022. The affected members were identified using information
     provided by Andrew Toranzo of the New York State Minority Ways and Means
     Committee.
       Summary of relevant resources:
       Membership data as of March 31, 2022 was used in measuring the impact
     of the proposed change, the same data used in the April 1, 2022 actuari-
     al valuation. Distributions and other statistics can be found in the
     2022 Report of the Actuary and the 2022 Annual Comprehensive Financial
     Report.
       The actuarial assumptions and methods used are described in the 2020,
     2021, and 2022 Annual Report to the Comptroller on Actuarial Assump-
     tions, and the Codes, Rules and Regulations of the State of New York:
     Audit and Control.
       The Market Assets and GASB Disclosures are found in the March 31, 2022
     New York State and Local Retirement System Financial Statements and
     Supplementary Information.
       I am a member of the American Academy of Actuaries and meet the Quali-
     fication Standards to render the actuarial opinion contained herein.
       This fiscal note does not constitute a legal opinion on the viability
     of the proposed change nor is it intended to serve as a substitute for
     the professional judgment of an attorney.
       This estimate, dated January 26, 2023, and intended for use only
     during the 2023 Legislative Session, is Fiscal Note No. 2023-36,
     prepared by the Actuary for the New York State and Local Retirement
     System.

1                                     PART LL

 2     Section 1. Subdivision 2 of section 363-a of the retirement and social
 3   security law, as amended by chapter 437 of the laws of 2016, is amended
 4   to read as follows:
 5     2. Notwithstanding any provision of this chapter or of any general,
 6   special, or local law to the contrary, any condition of impairment of
 7   health caused by diseases of the heart, resulting in disability or death
 8   to a police officer, presently employed, and who shall have sustained
 9   such disability while so employed, shall be presumptive evidence that it
10   was incurred in the performance and discharge of duty and the natural
11   and proximate result of an accident, unless the contrary be proved by
12   competent evidence.
13     § 2. The retirement and social security law is amended by adding a new
14   section 809 to read as follows:
15     § 809. Effect and rebuttal of certain medical presumptions pertaining
16   to diseases of the heart. a. This section shall apply to certain appli-
17   cations for disability retirement allowances made by or on behalf of a
18   member of the New York state and local employees' retirement system or
19   the New York state and local police and fire retirement system. It
20   shall apply only to applications that are subject under this chapter to
21   a provision that any condition of impairment of health caused by a
22   disease of the heart, resulting in disability, shall be presumptive
23   evidence that such disability was incurred in the performance and
24   discharge of duty and the natural and proximate result of an accident.
25     b. Notwithstanding any other provision of law to the contrary an
26   application for an accidental disability retirement allowance that is
27   based on a permanent incapacity caused by a disease of the heart, shall
28   not be required to allege or establish:
            Case 22-3237, Document 94, 05/05/2023, 3511362, Page58 of 68
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 1     (1) that the member sustained an accident or other incident related to
 2   the performance and discharge of duty; or
 3     (2) that notice was provided thereof.
 4     c. Notwithstanding any other provision of law to the contrary, the
 5   presumptions referred to in subdivision a of this section may be
 6   rebutted only by competent evidence that the disability is not the
 7   natural and proximate result of the performance and discharge of duty.
 8     § 3. The amendment made to subdivision 2 of section 363-a of the
 9   retirement and social security law by section one of this act shall not
10   affect, impair or invalidate any temporary right, privilege or benefit
11   conferred pursuant to the provisions of a general, special or local law
12   (other than pursuant to articles 14 and 15 of the retirement and social
13   security law) for any member of a public retirement system or pension
14   plan funded by the state or one of its political subdivisions, nor shall
15   any amendment thereto affect the application of such provisions as
16   extended by the provisions of section 480 of the retirement and social
17   security law.
18     § 4. This act shall take effect immediately.
       FISCAL NOTE.--Pursuant to Legislative Law, Section 50:
       This bill would amend the Retirement and Social Security Law (RSSL) to
       1. Eliminate certain eligibility requirements for awarding accidental
     disability benefits, when the disability is related to diseases of the
     heart, for members in the New York State and Local Employees' Retirement
     System (NYSLERS) and the New York State and Local Police and Fire
     Retirement System (NYSLPFRS). Accidental disability benefits would be
     granted even where
       a. the member did not sustain an accident,
       b. the member's incapacitation is unrelated to any accident, or
       c. the member failed to provide notice thereof.
       The heart presumption could continue to be rebutted by competent
     evidence that the disability is not the result of the performance and
     discharge of duty.
       2. Increase disability benefits payable to police officers in the
     NYSLPFRS, who become incapacitated due to diseases of the heart, by
     providing an accidental disability benefit equal to 75% of salary less
     workers' compensation. Currently, police officers are eligible for a
     performance-of-duty disability benefit equal to 50% of salary less work-
     ers' compensation.
       3. Increase the death benefits payable on behalf of a deceased police
     officer in the NYSLPFRS, whose death results from diseases of the heart,
     by providing the special accidental death benefit equal to more than
     100% of salary less workers' compensation and social security benefits
     payable to an eligible beneficiary or beneficiaries.       Currently the
     death benefit would be the continuance afforded under the performance-
     of-duty disability retirement
       Insofar as this bill affects the New York State and Local Retirement
     System (NYSLRS), more accidental disability benefits and accidental
     death benefits would be granted. The cost of the revised benefit will
     depend upon the applicant's age, service, salary, plan and any benefit
     type otherwise payable. Further, we anticipate that the administrative
     costs to the NYSLRS, required to process applications and litigate
     anticipated disputes, will increase.
       The number of members and retirees who could be affected by this
     legislation cannot be readily determined. However, every active member
     of the NYSLPFRS will be covered, as well as members of the NYSLERS
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    including uniformed court officers and peace officers employed by the
    Unified Court System and fire marshals employed by Nassau County.
      If this bill is enacted during the 2023 legislative session, we antic-
    ipate that there will be increases of approximately $1.2 million and
    $4.3 million in the annual contributions to the NYSLERS and to the
    NYSLPFRS, respectively, for the fiscal year ending March 31, 2024.
    These costs will be shared by the State of New York (the State), Nassau
    County, and other local participating employers in the NYSLPFRS as
    follows:

    Employer                    payment to the    payment to the
                                 NYSLERS           NYSLPFRS
    the State                   $1.2 million      $900,000
    Nassau County               $11,000
    all local participating
    employers in the NYSLPFRS                     $3.4 million

      In future years, these annual costs will vary as the salary of the
    affected members change.
      In addition to the annual contributions discussed above, there will be
    immediate past service costs of approximately $12.5 million and $111,000
    which will be borne by the State and Nassau County, respectively, as
    one-time payments. This estimate assumes that payment will be made by
    the State and Nassau County on March 1, 2024 and February 1, 2024,
    respectively.
      Estimated costs arising in the NYSLERS are based on 6,287 affected
    members with annual salary of approximately $573 million as of March 31,
    2022.
      Estimated costs arising in the NYSLPFRS are based on 32,169 affected
    members with annual salary of approximately $3.88 billion as of March
    31, 2022.
      Summary of relevant resources:
      Membership data as of March 31, 2022 was used in measuring the impact
    of the proposed change, the same data used in the April 1, 2022 actuari-
    al valuation. Distributions and other statistics can be found in the
    2022 Report of the Actuary and the 2022 Annual Comprehensive Financial
    Report.
      The actuarial assumptions and methods used are described in the 2020,
    2021, and 2022 Annual Report to the Comptroller on Actuarial Assump-
    tions, and the Codes, Rules and Regulations of the State of New York:
    Audit and Control.
      The Market Assets and GASB Disclosures are found in the March 31, 2022
    New York State and Local Retirement System Financial Statements and
    Supplementary Information.
      I am a member of the American Academy of Actuaries and meet the Quali-
    fication Standards to render the actuarial opinion contained herein.
      This fiscal note does not constitute a legal opinion on the viability
    of the proposed change nor is it intended to serve as a substitute for
    the professional judgment of an attorney.
      This estimate, dated February 24, 2023, and intended for use only
    during the 2023 Legislative Session, is Fiscal Note No. 2023-73,
    prepared by the Actuary for the New York State and Local Retirement
    System.
1                                    PART MM
            Case 22-3237, Document 94, 05/05/2023, 3511362, Page60 of 68
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 1     Section 1. Subdivisions 5 and 6 of section 167 of the state finance
 2   law, as added by chapter 83 of the laws of 1995, are amended to read as
 3   follows:
 4     5. The secretary of the senate shall also have the power, at the
 5   request of any member of the senate who shall hereafter resign or whose
 6   term of office shall hereafter terminate, or the surviving spouse of
 7   such member, to sell to such member, or to such surviving spouse, the
 8   chair last occupied by such member in the senate [for the sum of twen-
 9   ty-five dollars] at a cost set at the discretion of the secretary of the
10   senate, depositing any moneys received from such sale in the state trea-
11   sury; provided, however, that a written request therefor, accompanied by
12   the payment herein provided, be submitted to the secretary of the senate
13   within ninety days after any such resignation or termination of term of
14   office; and provided further that not more than one such chair may be
15   thus sold, regardless of any service subsequently rendered as a member
16   of the senate. In the event that any member of the senate dies leaving
17   no surviving spouse, the secretary of the senate shall have the power to
18   sell such chair, upon the terms and conditions hereinabove prescribed,
19   and in the following order of priority: (i) to any person designated by
20   such member in a writing filed with the secretary of the senate, or (ii)
21   to a child of such member, if any, in the order of seniority, (iii) to
22   [the father] any parent or parents of such member, (iv) to [the mother
23   of such member, (v) to a brother or sister] siblings of such member, in
24   the order of seniority.
25     6. The clerk of the assembly shall have the power, at the request of
26   any member of the assembly who shall hereafter resign or whose term of
27   office shall hereafter terminate, or the surviving spouse of such
28   member, to sell to such member, or to such surviving spouse, the chair
29   last occupied by such member in the assembly [for the sum of twenty-five
30   dollars] at a cost set at the discretion of the clerk of the assembly,
31   depositing any moneys received from such sale in the state treasury;
32   provided, however, that a written request therefor, accompanied by the
33   payment herein provided, be submitted to the clerk of the assembly with-
34   in ninety days after such resignation or termination of term of office;
35   and provided further that not more than one such chair may be thus sold,
36   regardless of any service subsequently rendered as a member of the
37   assembly. In the event that any member of the assembly dies leaving no
38   surviving spouse, the clerk of the assembly shall have the power to sell
39   such chair, upon the terms and conditions hereinabove prescribed, and in
40   the following order of priority: (i) to any person designated by such
41   member in a writing filed with the clerk of the assembly, or (ii) to a
42   child of such member, if any, in the order of seniority, (iii) to [the
43   father] any parent or parents of such member, (iv) to [the mother of
44   such member, (v) to a brother or sister] siblings of such member, in the
45   order of seniority.
46     § 2. This act shall take effect immediately.

47                                    PART NN

48     Section 1. Subdivision 1 of section 711 of the executive law, as added
49   by section 2 of part B of chapter 1 of the laws of 2004, is amended to
50   read as follows:
51     1. On or before January thirty-first of each year, the director shall
52   appear before and deliver a report to representatives of each house of
53   the legislature. The temporary president of the senate and the speaker
54   of the assembly shall each appoint [three] four members of their respec-
            Case 22-3237, Document 94, 05/05/2023, 3511362, Page61 of 68
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 1   tive houses, and the minority leader of each house shall each appoint
 2   one member, to hear the director's report. The appointed members may
 3   hear the report in a joint meeting of the members of the senate and
 4   assembly or in separate meetings attended by the members from one house.
 5   The chief information security officer of the state office of informa-
 6   tion technology services shall participate in such joint or separate
 7   meetings to supplement the report delivered by the director. The report
 8   shall provide information including, but not limited to: the state's
 9   current threat level, imminent threats to New York state, the state's
10   current threat posture and collaborative efforts among localities,
11   regions and with other states to prepare for and defend against acts of
12   terrorism. The chief information security officer of the state office of
13   information technology services shall supplement the report delivered by
14   the director with information on the state's cyber security infrastruc-
15   ture and cyber security resiliency efforts.
16     § 2. This act shall take effect immediately.

17                                    PART OO

18     Section 1. Short title. This act shall be known and may be cited as
19   the "unmarked burial site protection act".
20     § 2. Section 1503 of the not-for-profit corporation law is amended by
21   adding a new paragraph (c) to read as follows:
22     (c) Except as otherwise provided in paragraph (c) of section fifteen
23   hundred seven and paragraph (m) of section fifteen hundred ten of this
24   article, this article does not apply to a burial site as defined in
25   paragraph (a) of subdivision one of section one hundred seventy-one of
26   the executive law.
27     § 3. Article 7 of the executive law is amended by adding a new section
28   171 to read as follows:
29     § 171. Discovery   and disposition of human remains and funerary
30   objects. 1. Definitions. As used in this section:
31     (a) "Burial site" means any location in which human remains are inter-
32   red, which is not a cemetery subject to provisions of the not-for-profit
33   corporation law, the religious corporations law, the general municipal
34   law, the county law, the town law or the village law.
35     (b) "Committee" means the Native American burial site review committee
36   created by subdivision three of this section.
37     (c) "Culturally-affiliated group" means any group, including a Native
38   American Nation or tribe, whose past or present government, or tradi-
39   tional culture or religion, was or is affiliated with human remains or
40   funerary objects which are the subject of this section.
41     (d) "Forensic anthropologist or bioarchaeologist" means a person qual-
42   ified in the medicolegal or osteological investigation/examination of
43   human skeletal remains.
44     (e) "Funerary objects" means any item or items reasonably believed to
45   have been placed with human remains at the time of burial, including but
46   not limited to burial markers, items of personal adornment, vessels,
47   beads, tools, implements, ceremonial objects and other artifacts.
48     (f) "Human remains" means the remains of any part of the body of a
49   deceased person, excluding teeth.
50     (g) "Lineal descendant" means a genealogical descendant established by
51   oral tradition, traditional Indigenous knowledge, or written record.
52     (h) "Native American Nation or tribe" means any Native American tribe,
53   nation or group.
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 1     (i) "State archaeologist" means the person appointed to such office
 2   pursuant to section two hundred thirty-five of the education law.
 3     2. Applicability. (a) This section shall apply to all lands within the
 4   state except for lands located upon any Native American territory or
 5   reservation located wholly or partly within the state.
 6     (b) Subdivisions three, four, five, six, and seven of this section
 7   shall not apply to any project that has been reviewed pursuant to
 8   section 14.09 of the parks, recreation, and historic preservation law or
 9   to state participation in any review conducted pursuant to section 106
10   of the National Historic Preservation Act. If any human remains are
11   discovered during the project, the applicant shall immediately notify
12   the state archaeologist.
13     3. Native American burial site review committee. (a) There is hereby
14   established a Native American burial site review committee consisting of
15   the following:
16     (i) one member to be appointed by each of the Native American Nations
17   or tribes recognized by the state;
18     (ii) the state archaeologist;
19     (iii) a forensic anthropologist or bioarchaeologist appointed by the
20   executive director of the New York state museum;
21     (iv) the chair of the human remains committee or other designee of the
22   New York Archaeological Council; and
23     (v) one member with expertise in the field of historic preservation
24   appointed by the commissioner of the office of parks, recreation and
25   historic preservation.
26     (b) The committee shall elect a chairperson from among its members.
27   The members who are not public employees shall be reimbursed by the
28   state for their reasonable, necessary expenses incurred in the perform-
29   ance of committee functions. Three-fifths of the members of the commit-
30   tee shall constitute a quorum for the purpose of conducting business. A
31   majority vote of all members who have been appointed or who are serving
32   ex-officio shall be necessary for action. Any vacancy shall be filled in
33   the same manner as the original appointment.
34     (c) It shall be the function of the committee to determine the lineal
35   descendants and/or culturally-affiliated groups for Native American
36   human remains and funerary objects subject to this section, and to
37   provide notice to such descendants and/or groups as provided in this
38   section. The state archaeologist shall prepare, and the committee shall
39   adopt, standard procedures for determining the lineal descendants and
40   culturally-affiliated groups for human remains as required by this
41   section, including acceptable types of proof of such descent and affil-
42   iation. Such procedures shall include dispute resolution methods to
43   resolve disagreements among the committee members.
44     4. Discovery of burial site; reporting requirements. (a) Any person
45   who in the course of any ground-disturbing activity discovers a burial
46   site, human remains or funerary objects shall immediately cease any
47   further disturbance of such site, remains or objects, and shall imme-
48   diately report such discovery to the coroner or medical examiner in the
49   county in which the remains were discovered. The coroner or medical
50   examiner shall, within ninety-six hours, determine whether any actions
51   are required pursuant to the provisions of article seventeen-A of the
52   county law. If any such remains appear to the coroner or medical examin-
53   er to be more than fifty years old, the coroner or medical examiner
54   shall immediately provide notice of the discovery of such remains to the
55   state archaeologist, who shall in turn convey such notice to the other
56   members of the committee. If no action is required under article seven-
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 1   teen-A of the county law, or once such actions are undertaken and no
 2   further action is required, the state archaeologist and the committee
 3   may commence their inspection or examination of the remains or objects.
 4   Any inspection or examination shall be made in situ except as necessary
 5   to comply with such article seventeen-A, this section, or to determine
 6   the age of the remains. The state archaeologist and the committee may
 7   use ground penetrating radar or other pertinent technology or equipment
 8   on any portion of the project site that has yet to be disturbed to
 9   determine if any other remains exist within the project site.
10     (b) The state archaeologist, or a registered archeologist or regis-
11   tered professional archeologist as may be designated by the state
12   archaeologist, shall, upon receiving notice from a coroner or medical
13   examiner of the discovery of human remains, inspect the site, remains
14   and/or objects which are the subject of such notice. Within ten days of
15   receiving such notice, the state archaeologist shall prepare a report
16   thereon and provide a copy of the report to the committee and to the
17   property owner. The report shall be based upon physical examination of
18   the discovered burial site, remains and/or objects, and shall contain
19   the state archaeologist's conclusion as to whether such site, remains
20   and/or objects may be of Native American origin. In the event the state
21   archaeologist determines there is a reasonable possibility the site
22   contains multiple remains, an additional period of ten days may be
23   provided for assessment by the state archaeologist in consultation with
24   the culturally-affiliated group to determine the parameters of the site.
25   In preparing the report, the state archaeologist may seek and obtain
26   assistance from any employee of the regents, from the committee, and
27   from the office of parks, recreation and historic preservation.
28     (c) The committee may recommend to the office of parks, recreation,
29   and historic preservation that the site should be designated as a place
30   of historic interest under section twelve-a of the Indian law.
31     5. Determination of and notification to lineal descendants or cultur-
32   ally-affiliated groups. (a) If the state archaeologist, the forensic
33   anthropologist or bioarchaeologist, and the committee agree that the
34   burial site does not wholly or partly contain human remains or funerary
35   objects that are of Native American origin, it shall be the responsibil-
36   ity of the state archaeologist to determine, as soon as practicable,
37   whether there are any reasonably ascertainable lineal descendants or
38   culturally-affiliated groups with respect to such site, remains or
39   objects and, immediately upon making such determination, to provide
40   notice to such descendants or groups of the reported discovery.
41     (b) If the state archaeologist, the forensic anthropologist or bioar-
42   chaeologist, and the committee agree that the burial site wholly or
43   partly contains human remains or funerary objects that may be of Native
44   American origin, it shall be the responsibility of the committee to
45   determine the lineal descendants or culturally-affiliated groups. Such
46   determination shall be made as soon as practicable after the committee
47   receives a report from the state archaeologist concerning the burial
48   site. Immediately upon making such determination, the committee shall
49   provide notification to such descendants or groups of the reported
50   discovery.
51     (c) The committee shall have stewardship of Native American human
52   remains and funerary objects from the time it receives notification from
53   the state archaeologist pursuant to subdivision four of this section
54   until the lineal descendants and/or culturally-affiliated groups receive
55   notification from the committee pursuant to this subdivision, at which
56   time such lineal descendants and/or culturally-affiliated groups shall
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 1   have the right of possession and stewardship of such remains and
 2   objects. Upon notification to such lineal descendants or culturally-af-
 3   filiated groups pursuant to this subdivision, ownership of and responsi-
 4   bility for the human remains and funerary objects shall vest exclusively
 5   in such descendants or groups, which shall have authority to determine
 6   their disposition subject to the provisions of this section.
 7     (d) The state archaeologist shall have stewardship of non-Native Amer-
 8   ican human remains and funerary objects from the time he or she receives
 9   notification from the coroner or medical examiner pursuant to subdivi-
10   sion four of this section until the lineal descendants and/or cultural-
11   ly-affiliated groups receive notification from the state archaeologist
12   pursuant to this paragraph, at which time such lineal descendants and/or
13   culturally-affiliated groups shall have the right of possession and
14   stewardship of such remains and objects. Upon notification to such
15   lineal descendants or culturally-affiliated groups pursuant to this
16   subdivision, ownership of and responsibility for the human remains and
17   funerary objects shall vest exclusively in such descendants or groups,
18   which shall have authority to determine their disposition subject to the
19   provisions of this section.
20     (e) Where a burial site contains both Native American and non-Native
21   American human remains or funerary objects, the committee shall be
22   responsible for the Native American burials at the site, and the state
23   archaeologist shall be responsible for all other burials at the site.
24   Once stewardship of each is determined, the procedures established in
25   paragraphs (c) and (d) of this subdivision shall apply.
26     6. Disposition of remains and objects. (a) Within ten days after
27   receiving notification from the state archaeologist to lineal descend-
28   ants or a culturally-affiliated group, other than a Native American
29   Nation or tribe, of the discovery of a burial site, the descendants or
30   group shall advise the state archaeologist in writing as to the
31   preferred disposition of the discovered remains or objects, which may
32   include a request to protect the burial site and keep the remains inter-
33   red where they were found. The state archaeologist shall consult with
34   the property owner to try to facilitate the request of the lineal
35   descendants or culturally-affiliated group.
36     (b) Within sixty days after receiving notification from the committee
37   to a lineal descendant or culturally-affiliated group of the discovery
38   of a burial site, the descendants or group shall advise the committee in
39   writing as to the preferred disposition of the discovered remains or
40   objects, which may include a request to protect the burial site and keep
41   the remains interred where they were found. The committee shall consult
42   with the property owner to try to facilitate the request of the lineal
43   descendants or culturally-affiliated group.
44     (c) No later than ten days after receiving the report from the state
45   archaeologist pursuant to subdivision four of this section, the property
46   owner shall inform the state archaeologist of their decision with
47   respect to the interment of the remains on their property.   The report
48   from the state archaeologist to the property owner shall clearly include
49   that the property owner has ten days to notify the state archaeologist
50   of their decision.   If a property owner fails to notify the state
51   archaeologist of their decision, the state archaeologist or the commit-
52   tee, as appropriate, shall abide by the decision of the lineal descend-
53   ants or culturally-affiliated group.
54     (d) Only the state archaeologist, a registered archaeologist, or a
55   registered professional archaeologist may touch or handle any remains or
56   funerary objects.
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 1     7. Disposition of human remains and funerary objects, generally. (a)
 2   The property owner, their agents, assignees, employees, family members,
 3   friends, acquaintances, or any other individuals acting on behalf of
 4   such property owner, other than the state archeologist or a registered
 5   archeologist or a registered professional archaeologist hired by the
 6   property owner and acting pursuant to paragraph (d) of this subdivision,
 7   are strictly prohibited from moving, relocating, transferring, selling,
 8   possessing, touching, handling, or otherwise intentionally disturbing,
 9   in any manner, all human remains and funerary objects that are discov-
10   ered on site.      Except as necessary to carry out the purposes of this
11   section, burial sites, human remains and funerary objects shall remain
12   undisturbed after discovery and during the process established by this
13   section.
14     (b) While the disposition of the remains shall be determined by the
15   lineal descendants or culturally-affiliated group, and the property
16   owner, the preferred disposition as a matter of policy is to have the
17   remains stay interred where they are discovered.
18     (c) (i) If the lineal descendants, or culturally-affiliated group, and
19   the property owner agree that the remains shall stay interred, the
20   committee or state archaeologist, as appropriate, shall establish a plan
21   of action for the preservation and protection of the remains.
22     (ii) If the lineal descendants or culturally-affiliated group requests
23   that the remains be excavated and moved to a different location, the
24   committee or state archaeologist, as appropriate, shall establish and
25   implement a plan of action for the respectful, dignified excavation and
26   removal of the remains.
27     (iii) If the lineal descendants or culturally-affiliated group advise
28   that the remains stay interred, but the property owner notifies of their
29   decision, as provided in this section, that the remains should be
30   removed, the committee or state archaeologist, as appropriate, shall
31   establish and implement a plan of action for the respectful, dignified
32   excavation and removal of the remains. Such plan shall not be inconsist-
33   ent with the provisions of this section. The committee or state archae-
34   ologist may, prior to the execution of the plan of action, consult with
35   the property owner in an attempt to realize the request of the lineal
36   descendants or culturally-affiliated group. The committee or state
37   archaeologist may use a mediator, at no cost to the property owner
38   unless mediation is requested by the property owner, as part of this
39   process.
40     (d) (i) If the plan of action has not been implemented within ninety
41   days of the notification to the state archaeologist by the coroner or
42   medical examiner pursuant to paragraph (a) of subdivision four of this
43   section, and any additional time provided pursuant to paragraph (b) of
44   subdivision four of this section, the property owner may decide to exca-
45   vate and remove the remains, provided that they shall engage a regis-
46   tered archeologist or a registered professional archaeologist, regis-
47   tered with the Register of Professional Archaeologists and who practices
48   in the field of bioarchaeology or forensic anthropology, to excavate and
49   remove the remains in a respectful and dignified manner that is not
50   inconsistent with the provisions of this section, and provided further
51   that the property owner may request the state archeologist to perform
52   any such excavation or removal. The culturally-affiliated group shall
53   have the right to have a cultural monitor on site prior to and during
54   any excavation and removal of human remains or funerary objects. Fail-
55   ure of the culturally-affiliated group to have a monitor on site shall
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 1   not be grounds to prohibit, prevent, or pause any excavation, removal,
 2   or other conduct as provided in this section.
 3     (ii) If the plan of action has been substantially implemented but not
 4   completed within the ninety-day period, and any additional time provided
 5   pursuant to paragraph (b) of subdivision four of this section, the
 6   committee or state archaeologist may have one additional ten-day period
 7   to complete the excavation and removal.   The state archaeologist, in
 8   consultation with the committee, where appropriate, shall determine
 9   whether the plan of action has been substantially implemented.
10     (iii) Any excavation and removal caused by the property owner pursuant
11   to this paragraph shall be done at the expense of the property owner and
12   shall be performed and supervised by the registered archaeologist, or a
13   registered professional archaeologist, hired by the property owner
14   pursuant to this subdivision, provided that the property owner may
15   request the state archeologist to complete any such excavation or
16   removal even after the ninety-day implementation period or any addi-
17   tional time provided in this section has expired. The culturally-affi-
18   liated group may select a cultural monitor to observe the work.      Such
19   archaeologist shall review the established plan of action with the state
20   archaeologist or the committee, as appropriate, and act in accordance
21   with that plan. For the purposes of this paragraph, only the state
22   archaeologist, as provided in this section, or the registered archaeol-
23   ogist or registered professional archaeologist hired to perform the
24   excavation pursuant to this subdivision may have physical contact with
25   or otherwise disturb the remains or burial site.
26     (iv) The state archaeologist or committee shall make themselves avail-
27   able to the registered archaeologist or registered professional archae-
28   ologist forthwith for the purposes of discussing the established plan of
29   action for the site. If the state archaeologist or committee fails to
30   make themselves available forthwith, the registered archaeologist or
31   registered professional archaeologist may proceed with the excavation
32   and removal.
33     (v) If no plan of action has been established prior to the expiration
34   of the ninety-day period, and any additional time provided pursuant to
35   paragraph (b) of subdivision four of this section, the registered
36   archaeologist or registered professional archaeologist may proceed with
37   the excavation and removal in a professional, respectful, dignified
38   manner that is not inconsistent with the provisions of this section.
39     (vi)    Any remains or funerary objects excavated from the site as a
40   result of the implementation of the process established by this para-
41   graph shall be deposited with the New York state museum for disposition.
42     (vii) Notwithstanding any conflicting provision of this section, the
43   state archeologist may at any time monitor and observe any excavation
44   and removal performed pursuant to this section.
45     (e) If the state archaeologist and the committee have been unable to
46   identify the lineal descendants or culturally-affiliated group for human
47   remains or funerary objects, the state archaeologist shall take steward-
48   ship of the remains and shall make the recommendation for their disposi-
49   tion in accordance with the provisions of this section.
50     (f) Notwithstanding any conflicting provision of paragraph (d) of this
51   subdivision, for project sites that contain the remains of six or more
52   individuals, if the state archaeologist determines that additional time
53   is necessary for the excavation of such site, an additional thirty-day
54   period may be added before the remains can be excavated and removed by
55   the property owner. If the state archeologist continues to find that
56   additional time is necessary, the period before remains can be excavated
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 1   and removed by the property owner may be extended multiple times in
 2   increments of thirty days. The state archaeologist must provide a copy
 3   of each such determination to the property owner in writing. The proper-
 4   ty owner may bring an action pursuant to article seventy-eight of the
 5   civil practice law and rules to review the determination of the state
 6   archaeologist pursuant to this paragraph.
 7     8. Penalties. (a) Any person who fails to report the discovery of a
 8   burial site, human remains or funerary objects as required by subdivi-
 9   sion four of this section shall be guilty of a class B misdemeanor, as
10   defined in the penal law.
11     (b) Any person other than the state archaeologist, or a person or
12   group with a right to remove or a right of possession or stewardship
13   pursuant to this section, or a designee thereof, who intentionally
14   removes human remains or funerary objects from a burial site shall be
15   guilty of a class A misdemeanor, as defined in the penal law.
16     (c) Any person (i) who knowingly defaces or destroys a burial site,
17   human remains or funerary objects, or (ii) who, knowing that a burial
18   site, human remains, or funerary objects exist causes another person to
19   deface or destroy such burial site, human remains, or funerary objects,
20   or (iii) who possesses human remains or funerary objects with intent to
21   sell such remains or artifacts, or (iv) who sells or attempts to sell
22   human remains or funerary objects, except when authorized by law, shall
23   be guilty of a class E felony, as defined in the penal law.
24     9. Enforcement. The attorney general or any aggrieved party, including
25   the committee and any lineal descendant or culturally-affiliated group,
26   may bring an action in supreme court in the judicial district where the
27   remains or objects covered by this section are located to enjoin
28   violations or threatened violations of this section, and to recover such
29   remains or objects.
30     § 4. Section 235 of the education law is amended to read as follows:
31     § 235. State science service.     There shall be maintained in the
32   university a science service which shall be known as the state science
33   service and the state geologist, paleontologist, botanist [and], ento-
34   mologist, and archaeologist shall constitute its staff together with
35   such other scientists as the regents may employ or who are now employed
36   by them.     This service is empowered and directed to make available its
37   services to all the departments of the state, and the residents of the
38   state under such rules and regulations as the regents may prescribe and
39   is empowered to engage in such scientific research as directed by law or
40   by the regents and shall cooperate with scientific units or agencies of
41   other states, the federal government, educational institutions and
42   industry in the discovery, analysis and dissemination of scientific
43   information.    The director of the state museum shall also be the direc-
44   tor and head of the state science service and the staff of the service
45   shall be members of the staff of the state museum.
46     § 5. This act shall take effect on the ninetieth day after it shall
47   have become a law; provided, however, that if chapter 817 of the laws of
48   2022 shall not have taken effect on or before such date then section two
49   of this act shall take effect on the same date and in the same manner as
50   such chapter of the laws of 2022 takes effect.
51     § 2. Severability clause. If any clause, sentence, paragraph, subdivi-
52   sion, section or part of this act shall be adjudged by any court of
53   competent jurisdiction to be invalid, such judgment shall not affect,
54   impair, or invalidate the remainder thereof, but shall be confined in
55   its operation to the clause, sentence, paragraph, subdivision, section
56   or part thereof directly involved in the controversy in which such judg-
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1   ment shall have been rendered. It is hereby declared to be the intent of
2   the legislature that this act would have been enacted even if such
3   invalid provisions had not been included herein.
4     § 3. This act shall take effect immediately provided, however, that
5   the applicable effective date of Parts A through OO of this act shall be
6   as specifically set forth in the last section of such Parts.
